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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

JOHN STEVEN GARDNER                              §
                                                 §     CIVIL ACTION No. 1:10-CV-610
v.                                               §
                                                 §     JUDGE RON CLARK
DIRECTOR, TDCJ-CID                               §
                                                 §

                MEMORANDUM OPINION AND ORDER OF DISMISSAL

       Petitioner John Steven Gardner, an inmate confined on death row in the Texas prison

system, filed the above-styled and numbered Petition for a Writ of Habeas Corpus pursuant to 28

U.S.C. § 2254. Mr. Gardner is challenging his capital murder conviction and death sentence

imposed by the 219th District Court of Collin County, Texas, in Cause Number 219-81121-06,

The State of Texas vs. Gardner. The Court finds that the Petition should be denied. 1

                        I. PROCEDURAL HISTORY OF THE CASE

       On November 14, 2006, Mr. Gardner was convicted and sentenced to death for the

murder of his estranged wife, Tammy Gardner, in the course of committing or attempting to

commit burglary or retaliation for her status as a prospective witness. 2 CR (219-81121-06) 608.

The offense took place on January 23, 2005. The Texas Court of Criminal Appeals affirmed the

conviction and death sentence. Gardner v. State, 306 S.W.3d 274 (Tex. Crim. App. 2009). On


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         “CR” refers to the documents and pleadings filed in the State convicting court, or clerk’s
record. The clerk’s record in this case totals six volumes; however, Mr. Gardner was re-indicted
twice, so instead of six sequential volumes, there are three two-volume sets differentiated
only by the trial court cause number. The references are preceded by the volume number and
followed by the trial court cause number and page number where necessary.
        “RR” refers to the reporter’s record of the transcribed testimony during the trial, preceded
by the volume number and followed by the page number.
        “SCHR” refers to the State habeas clerk’s record, preceded by the volume number and
followed by the page number.
        On the disc containing these documents, the CR and RR are in a file labeled AP 75,582.
The SHCR is in a file labeled WR 74,030.

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October 4, 2010, the United States Supreme Court denied the petition for writ of certiorari. See

Gardner v. Texas, 562 U.S. 850, 131 S. Ct. 103 (2010).

        While the direct appeal was pending, Mr. Gardner filed an application for a writ of habeas

corpus in State court. 1 SHCR 3–216. The trial court entered written findings and recommended

that relief be denied. 2 SHCR 383–401. The T e x a s Court of Criminal Appeals adopted a

majority of the habeas trial court’s recommended findings and denied relief. Ex parte Gardner,

No. WR-74030-01, 2010 WL 3583072, at *1 (Tex. Crim. App. Sept. 15, 2010) (unpublished). On

September 15, 2010, the Texas Court of Criminal Appeals denied relief based on the trial court’s

findings and conclusion and on its own review of the record, and included the following statement

with its denial:

        [The court] agree[s] with the trial judge's recommendation and adopt the trial judge's
        findings and conclusions, except for findings paragraphs 67, 85, and 86. In
        addition, we do not adopt the phrase, “at China Blue's direction,” in findings
        paragraph 81. We also observe that the word, “first,” in findings paragraph 94(c)
        should be changed to the word, “second.” Based upon the trial court's findings
        and conclusions and our own review of the record, relief is denied.

Gardner, 2010 WL 3583072, at *1.

        Mr. Gardner began the present proceedings on September 29, 2010. He filed his original

petition for writ of habeas corpus on September 7, 2011. (Dkt. # 17). The Director responded (Dkt.

# 27), and Mr. Gardner replied (Dkt. # 32).

        Subsequently, the United States Supreme Court in Martinez v. Ryan, 566 U.S. 1 (2012) held

that “[i]nadequate assistance of counsel at initial-review collateral proceedings may establish cause

for a prisoner’s procedural default of a claim of ineffective assistance of trial.” 566 U.S. at 8. Later

that year, the Fifth Circuit held that Martinez did not apply to habeas cases in Texas. Ibarra v.

Thaler, 687 F.3d 222, 227 (5th Cir. 2012). In 2013, the United States Supreme Court released its

decision in Trevino v. Thaler, in which it held that in Texas, a death row inmate can raise an


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ineffective assistance of counsel (“IATC”) claim for the first time in a federal habeas petition

because Texas courts make it “virtually impossible” to present an IATC claim on direct review.

Trevino v. Thaler, 569 U.S. 413, 133 S. Ct. 1911, 1915 (2013) (quoting Robinson v. State, 16

S.W.3d 808, 811 (Tex. Crim. App. 2000)).

       Mr. Gardner then moved for “Additional, Conflict-Free Counsel,” on the basis of Trevino

v. Thaler, 133 S. Ct. 1911 (2013), and Martinez v. Ryan, 132 S. Ct. 1309 (2012). (Dkt. # 49).

The court granted the motion and appointed additional counsel to address whether Mr. Gardner

could establish cause and prejudice for any procedurally defaulted ineffective assistance of trial

(IATC) claims. (Dkt. # 74). That counsel filed a supplemental IATC claim. (Dkt. # 78). The

Director filed a response (Dkt. # 79), and Mr. Gardner, through his additional-but-independent

counsel, replied (Dkt. # 82). Mr. Gardner’s habeas counsel also filed a response. (Dkt. # 84).

                       II. FACTUAL BACKGROUND OF THE CASE

       The Texas Court of Criminal Appeals summarized the factual background of the case as

follows:

               [Mr. Gardner] and Tammy Gardner had a relatively short, but violent,
       marriage. Before Tammy married [Mr. Gardner] in 1999, she was very outgoing and
       happy. After that marriage, she lost weight, became introverted, and lost her sparkle.
       [Mr. Gardner] dominated, threatened, and physically abused her. His name was tattooed
       on her inner thigh.
               Jacquie West, Tammy’s best friend, testified that the one time she visited
       Tammy’s home after the marriage, she and Tammy’s daughter, Jessie, were sitting in
       the living room when [Mr. Gardner] came in, pushed Tammy onto the bed, sat on
       her, choked her with his hand, and then put a gun to her head. [Mr. Gardner] said that if
       Jacquie didn’t leave, he would kill Tammy. Jacquie left and never returned. Shortly
       thereafter, Tammy sent Jessie to live with her natural father for her safety.
               Both Jacquie and Jessie saw injuries on Tammy’s face on various occasions.
       Tammy told Jessie that one time [Mr. Gardner] shoved her into a bookcase, then hit
       her and gave her a black eye. Jacquie said that Tammy once had a large bruise
       running diagonally across her face. When confronted, Tammy matter-of-factly
       admitted that [Mr. Gardner] had hit her in the face with a hammer. Both had seen
       [Mr. Gardner] “stalking” Tammy at different times. Tammy told them that “she wasn’t
       getting out of there alive,” meaning that she would not get out of her marriage alive.
       Candace Akins, her boss at the Action Company, a wholesale horse-equipment


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      company, said that Tammy was constantly fearful, nervous, and in extreme financial
      difficulties. Tammy said that “she wanted out of the relationship,” but she was afraid
      to leave, and she told Candace many times, “I can’t leave, he will kill me.”
               Tammy eventually went to a neurologist complaining of vision loss, headaches,
      sleeplessness, anxiety, and depression. She told the doctor’s wife—who was assisting
      her husband and who had her own family counseling practice—that she was too
      embarrassed to tell the doctor that her migraines were caused by physical injuries from
      her husband. She said that [Mr. Gardner] had pulled her hair and hit her both with his
      fists and with a gun. She was very frightened of him and kept crying, “The only way
      I’m going to get out of this relationship is by being dead.” She explained that [Gardner]
      had threatened to kill her and her children if she left him.
               Finally, in December 2004, Tammy borrowed money from her company to file
      for divorce. On Christmas day she told [Mr. Gardner] to move out, so his parents came
      and took him and his belongings back to Mississippi. She “perked up” after she filed
      for divorce, and she began to see more of Jacquie and her daughter Jessie. At
      work, Tammy marked her calendar for February 7, 2005, the day her divorce would
      become final, and she would go over to the calendar and say, “You’re almost there.
      You’re almost there.”
               But she also told Jacquie, Jessie, and Candace that she didn’t think she would
      get to that day because [Mr. Gardner] would kill her first. Jessie testified that [Mr.
      Gardner] kept calling and leaving phone and text messages: “Are you going through
      with the divorce or not?” When Jacquie and Tammy had lunch together at
      Applebee’s on January 20th, Tammy’s cell phone started ringing as soon as they got
      there. It rang constantly, making Tammy upset and scared. She told Jacquie, “He’s
      going to kill me” before the divorce becomes final.
               On Sunday, January 23rd, Tammy was driving Jessie home after church when
      [Mr. Gardner] kept text messaging about the upcoming divorce and asking “YES OR
      NO?” Jessie read the text messages to her mother, who became frantic, but Tammy
      did not reply to [Mr. Gardner’s] question. The messages stopped about 5 p.m. Jessie
      stayed at her father’s home that night.
               Tammy called David Young, her company’s vice-president, early that evening
      and asked him if she could come talk to him. She arrived around 7:00 p.m. and stayed
      about three hours, seeking his help in “disappearing” so that no one could track her.
      Mr. Young was concerned about Tammy’s safety, but he felt more comfortable when
      she called him after she returned home about 11 p.m. According to the phone records,
      they talked until 11:13 p.m.
               At 11:58 p.m., Erin Whitfield, the 911 dispatcher for the Collin County
      Sheriff’s Office, received a 911 call from a woman who identified herself as “Tammy,”
      gave her address, and said she needed an ambulance. Her speech was very slurred and
      hard to hear, but she said that her husband had either slapped or shot her (Ms.
      Whitfield wasn’t sure until she replayed the tape that the word was “shot”). The
      woman said that she couldn’t hear the dispatcher because her ears were still ringing
      from gunshots and that her head hurt and “there was blood everywhere.” When Ms.
      Whitfield asked if the person who shot her was still there, the woman said, “No, he left
      in a white pickup truck with Mississippi plates.” She said his name was Steven
      Gardner. The dispatcher had to yell and repeat herself because the woman sounded like
      she was choking and vomiting. Then the line disconnected.
               Ms. Whitfield dispatched police and paramedics, but it took the police about
      25 minutes to arrive because, at first, they went to the wrong address, 3191 FM 2862

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      instead of 9191 FM 2862. As Deputy Armstrong drove there, he saw a white truck
      sitting in a ditch by a creek about two or three miles from Tammy’s home, but it was
      only later that he learned that they were looking for a white truck. He was the first
      to arrive at Tammy’s home. He knocked on the doors, but there was no answer,
      and he could not get in through the windows. He had to kick in the front door. He
      saw a light on in the bedroom, and, when he entered, he saw Tammy on the bed
      with a trail of blood leading into the bathroom. She was trying to sit up, but she
      was bleeding badly from her head and seemed to be in shock.
               By the time the paramedics arrived, Tammy was spitting up a lot of blood and
      mumbling incomprehensibly. She was wearing a red robe. One of the paramedics,
      Stephanie Taylor, cut the bottom part of the robe off because she couldn’t properly
      assess Tammy’s condition while she was dressed. Tammy was flown by helicopter to
      Parkland Hospital, but she went into a coma, and her family took her off life support
      two days later. Tammy died from a single gunshot to her head. The bullet had hit her
      in the front right temple, traveled downward through her brain, and exited below her
      left ear. Apparently, Tammy had been sitting up against a pillow in bed, and the exiting
      bullet went through the pillow and out the bedroom window. The bullet was never
      recovered.
               Investigating police found Tammy’s house keys—keys that Jessie said her
      mother always kept in her purse—in a tool chest in the back of her truck parked in the
      driveway. Nothing else appeared to have been taken from the house. There was no sign
      of forced entry.
               Meanwhile, [Mr. Gardner] had borrowed his brother-in-law’s white Ford F–
      150 pickup truck that Sunday afternoon, saying that he was going to visit relatives
      in nearby Hattiesburg. However, [Mr. Gardner’s] credit card was used twice that
      day at a convenience store in Marshall, Texas, which is on the way from Mississippi
      to Collin County. He apparently bought gas for $28.00 and then made another
      purchase for $3.86. The backing and store price tag for a pair of Brahma work gloves—
      an item that the Marshall convenience store sold for $1.49—were later found in the
      white F–150 pickup. [Mr. Gardner’s] fingerprint was found in that pickup as were
      fibers that were similar in all respects to red fibers taken from Tammy’s robe.
               In the early hours of Monday, Collin County Det. Cundiff found [Mr.
      Gardner’s] father’s telephone number and called him in Mississippi. Det. Cundiff
      obtained [Mr. Gardner’s] cell phone number and called him at 5:15 a.m. [Mr. Gardner]
      hung up on him. [Mr. Gardner] returned to his brother-in-law’s home driving the
      white F–150 pickup at about 8:30 a.m. His sister, Elaine Holifield, had already been
      told that Tammy had “an accident.” She confronted [Mr. Gardner] and asked, “What
      happened?” He didn’t say anything; he just started crying. She asked if Tammy
      was okay, and [Mr. Gardner] said, “Yes.” Elaine told him that he had to turn himself
      in to the police, and he said, “Okay.” He showered, changed clothes, shaved, and went
      first to his parents’ home and then to the sheriff’s office. Elaine then went to check
      for her husband’s .44 Magnum that he kept under his mattress. It was there, with
      five live rounds and one spent round. [Mr. Gardner’s] brother-in-law testified that he
      never left spent shells in his gun; he always reloaded it.
               When [Mr. Gardner] turned himself in to the sheriff’s office in Mississippi,
      officers there called Det. Cundiff in Collin County, who said that he did not have a
      warrant out for [Mr. Gardner’s] arrest. But he asked to speak to [Mr. Gardner] on the
      phone, and [Mr. Gardner] agreed. Det. Cundiff explained that he knew that [Mr.
      Gardner] had been in Texas and he wanted to find out what happened to Tammy. [Mr.

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       Gardner] said, “I don’t have an answer for that one.” When Det. Cundiff explained that
       Tammy had been shot in the head, [Mr. Gardner] replied, “Okay.” Then Det. Cundiff
       said that Tammy was still alive, and [Mr. Gardner] said that she could tell what had
       occurred “if she wants, that’ll be fine.” [Mr. Gardner] then went home but was later
       arrested and brought back to Collin County for trial.

Gardner, 306 S.W.3d at 281–84.

       At the punishment phase of the trial, the State introduced evidence of Mr. Gardner’s violent

past. Mr. Gardner had been married five times, and all of his marriages, with the exception of the

first marriage, were marked with violence and depravity. Mr. Gardner married his first wife,

Rita, in Hawaii, and they eventually separated without apparent incident. 23 RR 48.

       Mr. Gardner thereafter married Rhoda, and they resided in Laurel, Mississippi. 22 RR 28–

30; 23 RR 49. Their relationship ended when Mr. Gardner waited for Rhoda in hiding, called out

to her, and then shot her when she turned around. 22 RR 77. Mr. Gardner shot Rhoda again as she

lay on the ground, and stood over her until she urinated on herself, believing that this confirmed

that she had died. 22 RR 77–78. But, Rhoda survived the three gunshot wounds but was rendered

a paraplegic. 22 RR 16–17. She was pregnant at the time of the shooting and had a miscarriage

approximately seven weeks after being shot.         22 RR 17–18.     Rhoda underwent a surgical

procedure after she miscarried; she died during the operation. 22 RR 19–20. Mr. Gardner was

convicted of aggravated assault for shooting Rhoda and was sentenced to eight years’

imprisonment. 22 RR 33; SX 77.

       While imprisoned for his criminal activity against Rhoda, Mr. Gardner began corresponding

with Margaret Westmoreland.      They became romantically involved. 22 RR 33–34. When Mr.

Gardner was released on parole, he married and moved in with Westmoreland. Her two children

from her previous marriage, six-year-old Tim and thirteen year-old Becky, lived with them. 22

RR 34–35. Westmoreland testified that their dating relationship was “great,” but after marriage,

Mr. Gardner acted like “he owned” her. 22 RR 36. Mr. Gardner dictated what Westmoreland could


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wear, eroded her self-esteem, and ominously watched her while she was at work. 22 RR 36,

38–39.     Mr. Gardner also threatened Westmoreland and her family, including threats of

“skinning” Westmoreland’s children           alive, while Westmoreland watched, and breaking

Westmoreland’s neck. 22 RR 37. Westmoreland thought that Mr. Gardner would eventually kill

her, but she did not immediately leave him because she did not believe it was safe to do so. 22

RR 38, 40.

         Testimony revealed that Mr. Gardner was also sexually and emotionally abusive to Becky during

his relationship with Westmoreland. 22 RR 67, 78. Mr. Gardner’s and Westmoreland’s relationship

ended when Mr. Gardner violently assaulted Becky. The teenaged girl required seventy-eight stitches

in her head to repair the damage that Mr. Gardner inflicted. Becky had to spend the night in the hospital

after the assault. 22 RR 43–47, 71–73; SX 69.

         After the assault on Becky, Westmoreland ended her relationship with Mr. Gardner. Mr.

Gardner then abducted Westmoreland at knifepoint at her place of employment. 22 RR 50–52. Mr.

Gardner forced Westmoreland to drive to various locales, eventually engaging in a high-speed chase

with the police. 22 RR 50– 53. Westmoreland finally pulled over. 22 RR 52. Mr. Gardner was then

arrested. His parole w a s revoked, and he was sent back to prison. 22 RR 53. Despite his

imprisonment, Mr. Gardner still contacted Westmoreland, threatening to “hunt [her] down” if she left

him. 22 RR 54.

         Mr. Gardner then married a woman named Sandra, and the couple had a son, Nicholas. 23 RR

52–53. That marriage ended in June 1999. SX 72. In mid-August 2001, Sandra applied for a temporary

protective order, alleging family violence. SX 72. A two-year protective order was granted in late-

August 2001. SX 72.

         Mr. Gardner’s final marriage was to Tammy, the homicide victim in the present case.

Mr. Gardner was abusive to her during their marriage, and Tammy sought a divorce. Before the



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divorce was finalized, Mr. Gardner shot and killed her. Mr. Gardner also sexually assaulted

Tammy’s daughter, Jessie, beginning when she was nine. 22 RR 124–127.

       Testimony regarding other incidents of criminal activity was also introduced during

the sentencing hearing. For instance, Mr. Gardner was also spotted by police masturbating in his

vehicle at the Irving Mall during Christmastime in 1992, while women and children were in the

area. 22 RR 93–95. When police apprehended him, Mr. Gardner possessed two illegal knives

and a wooden club in his vehicle. 22 RR 102–03. Finally, while in the Army, Mr. Gardner was

punished for disobeying a superior non-commissioned officer and for leaving his post without

authority. SX 74. An Army psychiatrist noted that Mr. Gardner had an “inadequate, immature,

[and] sociopathic personality” and that Mr. Gardner was considered “ineligible for [re]enlistment”

when he was discharged. SX 74.

       In his defense at punishment, Mr. Gardner called a former coworker to testify that he

was responsible, diligent, and religious. 23 RR 8–9. Another former coworker testified that Mr.

Gardner was professional and courteous at work. 23 RR 17. Although Mr. Gardner had trouble

in the military, he did receive multiple commendations while in the Army, including the “National

Defense Service Medal” and the “Good Conduct Medal.” SX 74.

       Finally, Mr. Gardner’s sister Elaine testified that their father had a violent temper and was

abusive to their mother and Mr. Gardner.        23 RR 30–32. Mr. Gardner’s father beat the

children frequently. Mr. Gardner received the brunt of the beatings. 23 RR 30–32, 37–38. Elaine

recalled one incident where their father was preaching at a church but then suddenly got up from

his chair, took Mr. Gardner outside of the meeting hall, and beat Mr. Gardner so loudly that the

congregation could hear it. 23 RR 35–36. Despite the abuse, Elaine explained that “two lives

were led, the one in front of the public, and then the one behind closed doors,” and that the



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authorities were never called because “[y]ou didn’t do that.” 23 RR 39, 44. Elaine also pleaded

with the jury to spare her brother’s life. 23 RR 42, 58–59.

       Elaine also acknowledged that Mr. Gardner had a good relationship with his parents at the

time of trial. 23 RR 53. In fact, Mr. Gardner wrote his parents a letter, while in jail pending trial,

thanking them for being great parents and for making his life easier. 23 RR 55, SX 79.

       The jury found Mr. Gardner to be a future danger and concluded that there were not

sufficient mitigating circumstances to warrant a life sentence.          CR 616–17, 23 RR 121.

Accordingly, the trial court sentenced Mr. Gardner to death. CR 618, 23 RR 124.

                                 III. GROUNDS FOR RELIEF

       Mr. Gardner presented the following grounds for relief in his petition:

1.     Trial counsel were ineffective during the guilt-innocence phase of trial because they did not
       present an “abandonment rage” defense to negate an essential element of capital murder—
       retaliation for status as a prospective witness.

2.     Trial counsel were ineffective because they presented multiple, inconsistent, and
       implausible theories in both the guilt-innocence and punishment phases of trial, due to their
       failure to timely investigate and develop crucial information.

3.     Trial counsel were ineffective because they failed to adequately investigate and develop
       crucial mitigating evidence and failed to present that crucial mitigating evidence. 2

4.     The trial court erred in admitting Tammy’s 911 call into evidence because the admission
       violated Mr. Gardner’s Sixth Amendment right to confrontation.

(Dkt. # 19, at pp. 27–135).      Mr. Gardner presented the following ground for relief in his

Supplemental IATC Petition:

5.     State habeas counsel should have raised the following claim in State court: Trial counsel
       were ineffective for failing “to get the work product of their recalcitrant mitigation


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         In Mr. Gardner’s Petition, Mr. Gardner’s counsel presented trial counsel’s failure to
adequately develop and to adequately present as crucial mitigating evidence as two separate
grounds for relief. (Dkt. # 17 at p. 96). Mr. Gardner’s counsel then analyzed these two separate
grounds together in Mr. Gardner’s Petition. For simplicity, the court considers these two grounds
as one ground for relief.

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        specialist, Shelli Schade.”

(Dkt. # 78, at p. 1).

                                      IV. LEGAL STANDARD

        The petition was filed in 2011; thus, review is governed by the Antiterrorism and Effective

Death Penalty Act (“AEDPA”). See Lindh v. Murphy, 521 U.S. 320, 327 (1997). Under the

AEDPA, a petitioner who is in custody “pursuant to the judgment of a State court” is not entitled

to federal habeas corpus relief with respect to any claim that was adjudicated on the merits in State

court proceedings unless the adjudication of the claim:

        (1)     resulted in a decision that was contrary to, or involved an unreasonable
                application of, clearly established federal law, as determined by the
                Supreme Court of the United States; or

        (2)     resulted in a decision that was based on an unreasonable determination of
                the facts in light of the evidence presented in the State court proceeding.

28 U.S.C. § 2254(d). “By its terms § 2254 bars relitigation of any claim ‘adjudicated on the merits’

in state court, subject only to the exceptions in §§ 2254(d)(1) and (d)(2).” Harrington v. Richter,

562 U.S. 86, 98 (2011). T h e AEDPA “ imposes a highly deferential standard for evaluating

state court rulings, and demands that state court decisions be given the benefit of the doubt.” Renico

v. Lett, 559 U.S. 766, 773 (2010) (internal citations and quotations omitted). With respect to the

first provision, “[a] state court’s decision is ‘contrary to’ clearly established federal law if (1) the

state court ‘applies a rule that contradicts the governing law’ announced in Supreme Court

cases, or (2) the state court decides a case differently than the Supreme Court did on a set of

materially indistinguishable facts.” Nelson v. Quarterman, 472 F.3d 287, 292 (5th Cir. 2006) (en

banc); see also Mitchell v. Esparza, 540 U.S. 12, 15–16 (2003).

        “[R]eview under § 2254(d)(1) is limited to the record that was before the State court

that adjudicated the claim on the merits.” Cullen v. Pinholster, 563 U.S. 170, 181 (2011). As


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such, “evidence later introduced in federal court is irrelevant.” Id. at 184. “The same rule

necessarily applies to a federal court’s review of purely factual determinations under

§ 2254(d)(2), as all nine Justices acknowledged.” Blue v. Thaler, 665 F.3d 647, 656 (5th Cir.

2011), cert. denied, 133 S. Ct. 105 (2012). With respect to § 2254(d)(2), a Texas court’s factual

findings are presumed to be sound unless a petitioner “rebuts the presumption of correctness by

clear and convincing evidence.” Miller-El v. Dretke, 545 U.S. 231, 240 (2005). “ The standard

is demanding but not insatiable . . . deference does not by definition preclude relief.” Id.

       The Supreme Court stated that “[a] state court’s determination that a claim lacks merit

precludes federal habeas relief so long as ‘fairminded jurists could disagree’ on the correctness

of the state court’s decision.” Woods v. Etherton, 136 S. Ct. 1149, 1151 (2016) (quoting Richter,

562 U.S. at 101). The Supreme Court has explained that the AEDPA “modified a federal habeas

court’s role in reviewing state prisoner applications in order to prevent federal habeas ‘retrials’ and

to ensure that State court convictions are given effect to the extent possible under law.” Bell v.

Cone, 535 U.S. 685, 693 (2002). Federal habeas corpus relief is not available just because a State

court decision may have been incorrect; a petitioner must show that a State court decision was

unreasonable. Id. at 1850.

       The role of federal courts in reviewing habeas corpus petitions by prisoners in state custody

is exceedingly narrow. A person seeking federal habeas corpus review must assert a violation

of a federal constitutional right. Lowery v. Collins, 988 F.2d 1364, 1367 (5th Cir. 1993). Federal

habeas corpus relief will not issue to correct errors of state constitutional, statutory, or procedural

law, unless a federal issue is also present. Estelle v. McGuire, 502 U.S. 62, 67-68 (1991). In the

course of reviewing state proceedings, a federal court does “not sit as a super state supreme court

to review error under state law.” Porter v. Estelle, 709 F.2d 944, 957 (5th Cir. 1983).



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                                            V. ANALYSIS

A.      Mr. Gardner’s running objections are meritless.

        Mr. Gardner states several objections to the State court’s Findings of Fact. Mr. Gardner

incorporates these objections into each claim for relief in his Petition. (Dkt. # 17, at pp. 28–34).

For the following reasons, these objections are meritless.

        1.      The State court’s findings of fact are entitled to a presumption of correctness,
                regardless of whether a live hearing was held in State court.

        Mr. Gardner argues that a “full and fair” hearing in State court is necessary before this Court

can presume that the State court’s findings of fact are correct under 28 U.S.C. § 2254(e)(1). (Dkt.

# 17, at pp. 20–22). Mr. Gardner contends that for a hearing to be “full and fair,” there must be a

live h earing with discovery. (Dkt. # 17, at p. 21). He points to Panetti v. Quarterman, 551 U.S. 930

(2007) and Wiley v. Epps, 625 F.3d 199 (5th Cir. 2010). (Dkt. # 17, at pp. 20–22).             28 U.S.C.

2254(e)(1) does not refer to a hearing in state court as a precondition for its application, and Mr.

Gardner offers no case law on point to support such a broad proposition (Dkt. # 17, at p. 21).

        The Fifth Circuit has stated otherwise. See Valdez v. Cockrell, 274 F.3d 941, 951 (5th Cir.

2001) (“[W]e hold that a full and fair hearing is not a precondition to according § 2254(e)(1)’s

presumption of correctness to State habeas court findings of fact nor to applying § 2254(d)’s standards

of review.”). Other circuits share this view. See Sharpe v. Bell, 593 F.3d 372, 378 (4th Cir. 2010)

(“AEDPA does not make deference to state court fact-finding dependent on the adequacy of the

procedures followed by the state court.”); Teti v. Bender, 507 F.3d 50, 59 (1st Cir. 2007) (“As Professors

Fallon, Meltzer, and Shapiro have noted, these changes suggest that ‘the presumption of correctness

now applies across the board.’”) (quoting R. Fallon et al., Hart & Wechsler’s The Federal Courts and

the Federal System 1355 (5th ed. 2003)); Lambert v. Blackwell, 387 F.3d 210, 238 (3d Cir. 2004)

(“The habeas statute no longer explicitly conditions federal deference to state court factual findings on

whether the state court held a hearing.”); Mendiola v. Schomig, 224 F.3d 589, 592–93 (7th Cir. 2000)


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(“[I]f the state court’s finding is supported by the record, even though not by a hearing on the merits

of [the] factual issue, then it is presumed to be correct.”) (internal quotations omitted).

        Mr. Gardner relies on the holdings in Panetti and similar cases to support his assertion that a

live evidentiary hearing is a prerequisite to presuming that a state court fact-finding is correct. Panetti

itself is founded on Ford v. Wainwright, 477 U.S. 399, 409–10 (1986), and Ford simply confirmed

that a death-sentenced inmate had a constitutional right to competence at the time of execution.

See Panetti, 551 U.S. at 949 (“Justice Powell’s opinion in Ford constitutes ‘clearly established’

law for purposes of § 2254.”).       An inmate challenging his competency to be executed has a

constitutional right to certain procedures, should he make a requisite showing in state court that he is

categorically exempt from the death penalty. In the context of a claim of mental retardation, the Fifth

Circuit has found a constitutional basis in the procedures afforded an inmate if they make a prima

facie showing of mental retardation in state court. See Rivera v. Quarterman, 505 F.3d 349, 358 (5th

Cir. 2007).

        Mr. Gardner presented only claims of ineffective assistance to the State habeas court; these

are not allegations of absolute immunity from the death penalty possibly triggering additional

procedural due process protections. Mr. Gardner is not entitled to the additional protections

sometimes afforded to inmates who present substantial evidence that they are unconditionally

exempted from execution. 28 U.S.C. § 2254(e)(1) therefore applies to his case. See Hines v. Thaler,

456 F. App’x 357, 360–64 (5th Cir. 2011) (distinguishing Panetti, Wiley, and Rivera, and

upholding AEDPA deference despite no live hearing in state court).

        A decision based on a review of the complete record by the same judge who sat at trial, is

a full and fair hearing. See, e.g., Murphy v. Johnson, 205 F.3d 809, 816 (5th Cir. 2000) (“We

have repeatedly found that a paper hearing is sufficient to afford a petitioner a full and fair hearing

on the factual issues underlying his claims, especially where as here, the trial court and the state


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habeas court were one and the same.”). This court concludes that the fact-findings of the State

habeas court will be presumed to be correct.

       2.      The Court of Criminal Appeals credibility findings are relevant to an ineffective
               assistance of counsel claim.

       Mr. Gardner objects to certain findings of fact made by the State habeas court regarding

counsel’s experience, credibility, and the court’s recollection of the events at trial. (Dkt. # 16,

at p. 22); see also 2 SHCR 385–86 (Findings 11–16). Mr. Gardner argues that the findings of

credibility do not impact the query of effectiveness. (Dkt. # 16, at p. 22). A claim alleging

ineffectiveness of counsel requires some factual inquiry as “both the performance and prejudice

components of the ineffectiveness inquiry are mixed questions of law and fact.” Strickland v.

Washington, 466 U.S. 668, 698 (1984). Facts pertinent to such a claim can include whether counsel

made “strategic choices . . . after thorough investigation of law and facts relevant to plausible

options,” which sometimes requires “inquiry into counsel’s conversations with the defendant.”

Id. at 690–91. Ineffective assistance of counsel claims are fact-based inquiries typically premised

on counsel’s explanation of his or her acts or omissions, at least as far as the performance inquiry

is concerned. Id. Any time an explanation is given before a fact-finder, credibility is relevant.

Cf. Fed. R. Evid. 607 (“Any party, including the party that called the witness, may attack the

witness’s credibility.”). Mr. Gardner’s disagreement with a credibility finding does not render it

irrelevant. Mr. Gardner’s “objections” to the state court’s credibility fact-findings carry no

weight, and those findings will be considered by this court in addressing the State court’s decision.

       3.      Submission of an affidavit by counsel to the State habeas court did not create a
               conflict of interest.

       Mr. Gardner objects to any finding by the State habeas court that relied upon the

affidavit of counsel. (Dkt. # 16, at p. 22–23). He argues that a finding of ineffectiveness creates




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a conflict of interest for an attorney who admits deficiency because he will be removed from the

capital appointment list under a rticle 26.052 of the Texas Code of Criminal Procedure. (Dkt. #

16, at p. 23).

        Mr. Gardner’s objection is overruled for several reasons. First, an attorney’s admission

of deficiency is not a legal finding of ineffectiveness. An attorney’s belief that he erred is

a subjective determination; Strickland requires that an attorney’s actions be reviewed under “an

objective standard of reasonableness.” Strickland, 466 U.S. at 688; see also Richter, 562 U.S. at

110. Accordingly, an attorney’s admission of deficient representation does not require a

finding of deficiency under Strickland, nor automatic removal from the capital appointment list.

        Further, an admission that an attorney erred does not mandate a finding of prejudice.

Prejudice is necessary for a determination of ineffectiveness. Strickland, 466 U.S. at 692.

Although it is not uncommon for an attorney to make an error during the course of a trial, only

those errors which substantially affect the outcome of trial implicate a constitutional violation.

Richter, 562 U.S. at 110 (“Just as there is no expectation that competent counsel will be a

flawless strategist or tactician, an attorney may not be faulted for a reasonable miscalculation

or lack of foresight or for failing to prepare for what appear to be remote possibilities.”).

Admitting an error does not require a finding of prejudice or removal from the capital appointment

list.

        Article 26.052 does not create a conflict of interest. Representation of Mr. Gardner b y

t r i al c o u n s el ended when appellate counsel was appointed. 2 CR (219-81121-06) 632. This is

not a situation where counsel are actively representing opposing interests. See Tex. Disciplinary

R. Prof’l Conduct 1.06(b)(1). To the extent that counsel’s own interests are impacted by

potential removal from the capital appointment list, a conflict arises from such a scenario only




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when such personal interests “have [an] adverse effect on representation”—active representation.

Tex. Disciplinary R. Prof’l Conduct 1.06(b)(2) & cmt. 5. Because trial counsel no longer

represented Mr. Gardner or owed any duty to him, save a duty of confidentiality, which Mr.

Gardner waived by challenging their representation, no conflict arose in this case.

         Mr. Gardner presented his allegation of an alleged conflict of interest to the State habeas

court.   1 SHCR 79–81. The State habeas court considered and rejected this challenge,

finding trial counsel to be credible. 2 SHCR 386 (Finding 16). This discrete fact-finding is

entitled to a presumption of correctness. See 28 U.S.C. § 2254(e)(1). Mr. Gardner has not

proffered clear and convincing evidence to counter this finding. Accordingly, this court will

consider the explanations proffered by counsel to the State habeas court.

         4.     Mr. Gardner was not denied due process when the State Court found the juror
                affidavits to be inadmissible.

         Mr. Gardner submitted affidavits of five jurors. 1 SHCR 95–107. This was an attempt

to expose the jury’s deliberations and to show the effect of the new evidence that counsel

should have supposedly presented at trial. See 1 SHCR 29. The State habeas court found, pursuant

to Rule 606(b) of the Texas Rules of Evidence, that such affidavits were inadmissible and did “not

consider them for any purpose.” 2 SHCR 385 (Findings 8–10). Mr. Gardner complains that the

State court interpreted state law incorrectly and that the State court relied on the juror affidavits

despite explicitly saying otherwise, resulting in a judicial inconsistency and violating due process.

(Dkt. # 16, at p. 24). Mr. Gardner then requests that this court consider the affidavits in reviewing

the reasonableness of the State court’s decision regardless of the State court’s treatment of the

juror affidavits. (Dkt. # 16, at pp. 24–26).

         The State court interpreted state law in striking the juror affidavits. 2 SHCR 385 (Finding

9). This court may not disturb that finding because “[i]t is not the province of a federal habeas


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court to reexamine state-court determinations on state-law questions.” Wilson v. Corcoran, 562

U.S. 1, 5 (2010) (quoting Estelle v. McGuire, 502 U.S. 62, 67–68 (1991)); see also Charles v.

Thaler, 629 F.3d 494, 500–01 (5th Cir. 2011) (“A federal court lacks authority to rule that a state

court incorrectly interpreted its own law. When, as here, a state court’s legal conclusions are

affirmed by the highest court in that state, those conclusions are state law.”). Accordingly,

Mr. Gardner’s argument that the State court erred in its interpretation of state law is not cognizable.

       Despite the decision by the State court to strike the juror affidavits, Mr. Gardner

nonetheless asks this court to consider them in finding the State court’s decision unreasonable.

(Dkt. # 16, at pp. 24–26). Because these affidavits are not part of the considered, adjudicative

record, this court will not consider them in deciding the reasonableness of the state court’s decision.

Pinholster, 563 U.S. at 180-181. Further, and independent of the AEDPA, this court may not

consider the juror affidavits because Rule 606(b) of the Federal Rules of Evidence independently

precludes their consideration as well. See Adams v. Thaler, 421 F. App’x 322, 328 n.2 (5th Cir.

2011) (an affidavit stating how a juror “would have” reacted to new evidence was not admissible).

       Striking the juror affidavits, does not a present a constitutional issue for Mr. Gardner.

See Tanner v. United States, 483 U.S. 107, 116–27 (1987) (upholding Rule 606(b) of the Federal

Rules of Evidence against a Sixth Amendment fair-jury claim); Salazar v. Dretke, 419 F.3d 384,

399–405 (5th Cir. 2005) (rejecting claim that striking juror affidavit violated due process).

       Finally, this court cannot consider the juror affidavits because Strickland requires an

objective determination regarding prejudice; this determination is not achieved through speculation

of what actual jurors might have done if they had considered the new evidence. Strickland, 466 U.S. at

695 (“The assessment of prejudice should proceed on the assumption that the decisionmaker is

reasonably, conscientiously, and impartially applying the standards that govern the decision.”).




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       The juror affidavits are inadmissible and irrelevant for this court’s analysis of the State court

decision. The court will not consider them.

B.     Mr. Gardner was afforded constitutionally effective assistance of counsel (Claims
       One and Two).

       Mr. Gardner presents several claims regarding ineffective assistance of counsel. The

court finds these claims meritless.

       1.      The State Court’s decision that counsel were not ineffective for failing to advance
               the abandonment rage theory at the guilt-innocence phase of trial is not objectively
               unreasonable (Claim One).

       Mr. Gardner complains that counsel were ineffective for failing to present a theory of

abandonment rage to negate the retaliation manner and means of capital murder. (Dkt. # 16, at pp. 27,

34–55). Under Mr. Gardner’s theory, the murder was committed because “of abandonment rage

predicated on attachment disorder” and not because Mrs. Gardner was going to be a witness in

the divorce proceeding. (Dkt. # 16, at p. 34). Mr. Gardner argues that “he abused or killed his

spouses, not because of their status as prospective witnesses who would testify against him . . . but

because they were leaving him.” (Dkt. # 16, at p. 42).

       Mr. Gardner’s argument is based on a speculative conjecture that counsel could have proved

Mr. Gardner’s subjective intent behind the killing through psychological evidence. He does not

show deficiency or prejudice, or that the State court’s decision to deny relief on this point was

contrary to, or an unreasonable application of, Supreme Court precedent.

       Strickland v. Washington, 466 U.S. 668 (1984), governs ineffective assistance of counsel

claims. To prove ineffectiveness, an inmate must establish that counsel’s actions were deficient

and that such deficiency prejudiced the defense.         Id. at 687, 2064. To establish deficient

performance an inmate must show that “counsel’s representation fell below an objective standard

of reasonableness.” Id. at 688. A “strong presumption” that counsel’s representation was within



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the “wide range” of reasonable professional assistance applies. Id. at 689. An inmate’s burden is

to show “that counsel made errors so serious that counsel was not functioning as the ‘counsel’

guaranteed the defendant by the Sixth Amendment.” Id. at 687.

       Concerning prejudice, an inmate must demonstrate “a reasonable probability that, but

for counsel’s unprofessional errors, the result of the proceeding would have been different. A

reasonable probability is a probability sufficient to undermine confidence in the outcome.” Id. at

694. “It is not enough . . . to show that the errors had some conceivable effect on the outcome of

the proceeding.” Id. at 693. Rather, counsel’s errors must be “so serious as to deprive the defendant

of a fair trial, a trial whose result is reliable.” Id. at 687. In determining whether an inmate

has shown prejudice, a reviewing court must “consider all the relevant evidence that the jury

would have had before it if [the inmate] had pursued a different path— not just the . . . evidence

[the inmate] could have presented, but also the . . . evidence that almost certainly would have come

in with it.” Wong v. Belmontes, 558 U.S. 15, 20 (2009).

       “Surmounting Strickland’s high bar is never an easy task.” Padilla v. Kentucky, 559

U.S. 356, 371 (2010). “Even under de novo review, the standard for judging counsel’s

representation is a most deferential one.” Richter, 562 U.S. at 105. Under t h e AEDPA, “because

the Strickland standard is a general standard, a state court has even more latitude to reasonably

determine that a defendant has not satisfied that standard.” Knowles v. Mirzayance, 556 U.S. 111,

123 (2009).     As such, “[e]stablishing that a state court’s application of Strickland was

unreasonable . . . is all the more difficult. The standards created by Strickland and [AEDPA] are

both ‘highly deferential,’ . . . when the two apply in tandem, review is ‘doubly’ so.” Richter,

562 U.S. at 105.




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       In preparing for trial, counsel employed several experts: an investigator (Randi Ray), a

mitigation specialist (Shelly Schade), a consulting mental health expert (Dr. Kristi Compton),

a testifying mental health expert (Dr. Kate Allen), and a risk assessment expert (Dr. Gilda Kessner).

1 SHCR 112, 204; 2 SHCR 338–39, 342, 345. No investigator or expert raised the issue of

abandonment rage as possibly explaining Mr. Gardner’s murderous actions. 2 SHCR 338. Not

surprisingly, counsel did not consider that defensive theory in preparation for trial. 2 SHCR 338.

       The State habeas court found that neither Dr. Kessner nor any of Mr. Gardner’s other

multiple experts informed counsel about abandonment rage. 2 SHCR 387 (Findings 23 & 24).

Accordingly, the State habeas court found that counsel were not deficient. 2 SHCR 387 (Finding

24).   This is not a finding that unreasonably applies Supreme Court precedent. Case law is

consistent in that counsel is not deficient when, after retaining pertinent experts and providing

them with the relevant background material, such experts do not discover the underlying mental

health issue that should have supposedly been presented at trial. See Couch v. Booker, 632 F.3d

241, 246 (6th Cir. 2011) (“Trial counsel may rely on an expert’s opinion on a matter within

his expertise when counsel is formulating a trial strategy.”); McClain v. Hall, 552 F.3d 1245,

1253 (11th Cir. 2008) (“McClain’s counsel reasonably relied on Dr. Maish’s opinion that

McClain suffered from ‘Antisocial Personality Disorder’ but did not suffer from a frontal lobe

disorder or from any ‘significant emotional disorder.’”); Sims v. Brown, 425 F.3d 560, 585–86 (9th

Cir. 2005) (“[A]ttorneys are entitled to rely on the opinions of mental health experts, and to impose

a duty on them to investigate independently of a request for information from an expert would

defeat the whole aim of having experts participate in the investigation.”) (internal quotations and

citations omitted); Dowthitt v. Johnson, 230 F.3d 733, 747–48 (5th Cir. 2000) (stating that counsel

may rely upon their retained experts and need “not canvass[] the field to find a more favorable




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defense expert.”); Hendricks v. Calderon, 70 F.3d 1032, 1038 (9th Cir. 1995) (“In general, an

attorney is entitled to rely on the opinions of mental health experts in deciding whether to pursue

an insanity or diminished capacity defense.”).        None of Mr. Gardner’s experts identified

abandonment rage as a possible defense before trial, which indicates that the State court’s decision

is reasonable regarding this issue.

       Counsel stated that even if they had known about abandonment rage, they would not

have presented the defense at Mr. Gardner’s trial during the guilt-innocence phase. 2 SHCR 339.

First, they believed that raising an abandonment rage defense at the guilt-innocence phase would

have opened the door to a host of bad acts committed by Mr. Gardner. 2 SHCR 339. Further,

they did not believe that Collin County jurors would have responded to this defensive theory. 2

SHCR 339. The State habeas court accepted these explanations. 2 SHCR 387 (Findings 22 &

25). The State habeas court further found that as a matter of state law, Mr. Gardner’s prior history

of violence would have been admissible at the guilt-innocence phase if abandonment rage had

been offered as a defense and that such evidence would have been highly prejudicial. 2 SHCR

387 (Findings 26 & 27). Accordingly, the State habeas court found that “[c]ounsel’s decision to

pursue a fact-based rather than psychological defense and limit the State’s rebuttal evidence was

a reasoned strategic choice. . .” 2 SHCR 387 (Finding 28). The State court’s alternative holding

on deficiency is reasonable.

       “[S]trategic choices made after thorough investigation of law and facts relevant to

plausible options are virtually unchallengeable.” Strickland, 466 U.S. at 690. Presenting or

withholding certain evidence is clearly within counsel’s reasoned, strategic discretion. See, e.g.,

Darden v. Wainwright, 477 U.S. 168, 185–86 (1986) (counsel reasonably withheld most of the

defendant’s available mitigation evidence). Counsel may reasonably consider the atmosphere of




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the convicting county’s population in formulating a strategy. See, e.g., Strickland, 466 U.S. at 695.

That is what Mr. Gardner’s counsel explained in this case—they would not have presented a

“novel” psychological defense in a historically conservative county, and they would not have

allowed the State to introduce punishment evidence at the guilt-innocence phase of trial. 2 SHCR

339. The State court’s decision on this matter was not unreasonable.

       The State habeas court noted that neither Dr. Kessner nor Mr. Gardner’s State habeas

mitigation specialist, Toni Knox, believed that abandonment rage theory was applicable to the

guilt-innocence phase (2 SHCR 388 (Findings 30 & 31)) and that even if it had been presented,

it would have provided only “psychological context” but not a legal justification for Mrs.

Gardner’s murder (2 SHCR 388 (Finding 32)). This supports that court’s finding that it was

reasonable for counsel not to have advanced a legally inapplicable defense. 2 SHCR 38 (Finding

33). The State habeas court additionally found that abandonment rage was not an appropriate

defense for Mr. Gardner. The court noted that Mr. Gardner had a history of random violence

unconnected to any abandonment. 2 SHCR 388 (Finding 34). The court also found that the

State’s evidence showed that abandonment was not the impetus behind Mrs. Gardner’s murder;

rather, it was the divorce proceeding in which Mrs. Gardner was a prospective witness. 2

SHCR 389 (Finding 35). Consequently, the State habeas court found that “[c]ounsel were not

unreasonable for declining to present a defensive theory that not supported by the evidence.” 2

SHCR 389 (Finding 36).

       The State habeas court also noted that while abandonment rage theory may be applicable

to the retaliation manner and means, it had no bearing on the burglary manner and means.           2

SHCR 389 (Finding 37). Regardless of whether Mr. Gardner killed Tammy because of her

abandonment or her status as a prospective witness, he still did not have effective consent to




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enter her home on the evening of her death. Because abandonment rage did not have any effect on

the burglary manner and means, the State habeas court found that counsel were not

unreasonable in failing to have advanced a defensive theory that did not address all alternative

means of proving capital murder. 2 SHCR 389 (Finding 38).

       These three further findings of non-deficiency—failing to advance a legally inapplicable

defensive theory, failing to advance an unsupported defensive theory, and failing to advance a less

than comprehensive defensive theory—are all reasonable findings by the State habeas court.

See Mirzayance, 556 U.S. at 127 (“The law does not require counsel to raise every available

nonfrivolous defense. . . . Counsel also is not required to have a tactical reason—above and beyond

a reasonable appraisal of a claim’s dismal prospects for success—for recommending that a weak

claim be dropped altogether.”); Haines v. Risley, 412 F.3d 285, 289 (1st Cir. 2005) (“[T]o couple

a weak argument with a stronger one may detract from the latter . . . .”).

       The State habeas court found that Mr. Gardner was not prejudiced by the failure to

raise abandonment rage during the guilt/innocence phase. 2 SHCR 390 (Findings 41 & 42).

This finding is directly intertwined with some of the findings above—that abandonment rage did

not legally negate retaliation ( 2 SHCR 388 (Finding 32)), that abandonment rage did not fit

well with Mr. Gardner’s “history of random violence unconnected to any abandonment” (2

SHCR 388 (Finding 34)); that the State’s evidence “showed that the impending divorce was the

impetus for Tammy’s murder,” not abandonment ( 2 SHCR 389 (Finding 35)), and that

abandonment rage did not negate the burglary manner and means (2 SHCR 389 (Finding 37)).

These findings are reasonable determinations by the State habeas court.

       Retaliation occurs when a person “intentionally or knowingly harms or threatens to

harm another by an unlawful act . . . in retaliation for or on account of the service or status of




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another as a . . . prospective witness.” Tex. Penal Code § 36.06(a)(1)(A); accord 1 CR (219-81121-

06) 6 (final re- indictment). Mr. Gardner intended to harm, or knowingly harmed, Tammy by an

unlawful act—he shot her. Mr. Gardner does not take issue with that element of retaliation. Mr.

Gardner does, however, challenge the reason for harming Tammy. He now claims that he

shot her because she abandoned him, while the State alleged that Mr. Gardner killed Tammy

because she was divorcing him, an act that necessarily included her participation as a witness

against Mr. Gardner in order to finalize the divorce.

       The State proved that Mrs. Gardner had filed for divorce (SX 39) and that she had to

testify under oath in order to complete the divorce (20 RR 99–100). The State also proffered

evidence that it was not the termination of the relationship that angered Mr. Gardner but the act of

divorce itself. For example, Mr. Gardner became agitated after Tammy filed the divorce petition.

19 RR 206–10. Mr. Gardner seems to argue that he could have committed retaliation only if he

intended to prevent Tammy from testifying. (Dkt. # 16, at p. 41). However, retaliation can occur

even where it is not the defendant’s primary objective to stop the witness from testifying. The

State proved that Tammy, as a prospective witness, was part of the divorce and provided sufficient

evidence for the jury to believe that the divorce was the impetus of the killing, not

abandonment. Given the evidence at trial, it is unlikely that the jury would have been swayed

by abandonment rage as the impetus for the killing instead of Tammy’s status as a prospective

witness.

       The evidence proffered by Mr. Gardner during the State habeas hearing indicated that Mr.

Gardner was prone to violence for reasons other than abandonment. For example, Mr. Gardner killed

Rhoda because she would not divorce him. See 1 SHCR 159. Mr. Gardner had random “anger

episodes.” See 1 SHCR 195. He was violent with his ex-wife Westmoreland. See 1 SHCR 191.




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Mr. Gardner’s own evidence indicates that he was violent because a former wife would not leave

him, and was violent in situations not connected to real or perceived abandonment. Considering

Mr. Gardner’s own evidence is inconsistent with abandonment rage theory, it is improbable that

the jury would have accepted such explanation.

       Finally, abandonment rage theory does not negate the burglary manner and means. A

person commits burglary “if, without the effective consent of the owner, the person . . . enters a

building or habitation and commits or attempts to commit a felony, theft, or an assault.” Tex.

Penal Code § 30.02(a)(3); accord 1 CR (219-81121-06) 6 (final re-indictment). There is no doubt

that Mr. Gardner entered Mrs. Gardner’s home with the intent to murder her—he borrowed his

brother-in-law’s pickup truck under false pretenses, stole a .44 magnum pistol, and drove straight to

Mrs. Gardner’s house from Mississippi.

       Further, the Court of Criminal Appeals observed that there was “ample circumstantial

evidence that Tammy did not consent to [Mr. Gardner’s] middle-of-the- night entry . . . .” Gardner,

306 S.W.3d at 287. The following evidence supported the theory that Mr. Gardner did not have

effective consent to enter Mrs. Gardner’s home:

           •   Jacquie West, Candace Akins, and Tammy’s daughter, Jessie, testified that
               Tammy was terrified of [Mr. Gardner] and believed that he would kill her.

           •   Tammy had repeatedly told them that she would never get out of her marriage
               to [Mr. Gardner] alive, that he would kill her first.

           •   Jessie testified that, on the afternoon of Tammy’s death, [Mr. Gardner] kept
               sending her text messages, asking about whether she planned to go through
               with the divorce, and, when Tammy did not respond to those messages, his
               messages became shorter and bigger until they culminated with repeated
               texts: “YES OR NO?” Tammy was frantic as she drove down the road with
               Jessie.

           •   Immediately before her murder, Tammy had spent three hours visiting with
               the vice-president of her company seeking his assistance to help her
               “disappear” so that no one could track her down.


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           •     [Mr. Gardner] had kept a second set of keys to Tammy’s house when he left
                 at Christmas after giving one set to Tammy’s son, John.

           •     The physical condition of the bedroom leads to a reasonable inference that
                 Tammy was surprised by the intruder and shot as she was sitting up in bed,
                 propped up by pillows.

Gardner, 306 S.W.3d at 287.

       The Court of Criminal Appeals summarized the inferences that could have been reasonably

drawn by the jury given the evidence before them:

       The jury could infer from this evidence that Tammy would not, and did not,
       give [Mr. Gardner] consent to enter her home after 11 p.m. on January 23, 2005.
       Viewing the totality of the evidence, the jury could reasonably infer that [Mr.
       Gardner] drove to Tammy’s isolated rural home, used his extra key to open the
       front door, walked down to the bedroom to confront Tammy sitting up in bed, shot
       her through the right temple, took the house keys from her purse hanging on the
       bedpost, locked the front door as he left, put Tammy’s keys into the tool box in
       Tammy’s truck, stopped at a ditch two to three miles down the road (perhaps to
       throw his extra set of keys into the ditch), and then drove back to Mississippi.
       Tammy, meanwhile, was still conscious enough to put on her red robe, which was
       hanging on the bedpost, look outside to see [Mr. Gardner] departing in the white
       Ford truck with Mississippi plates, and then call 911 to summon an ambulance.

Id. at 287–88.

       Mr. Gardner states that abandonment rage theory negates the burglary manner and means

by proposing that evidence of “abandonment rage in guilt/innocence would have refuted burglary.”

(Dkt. # 16, at p. 50). Mr. Gardner does not provide support for this statement.

       Further, recent case law further demonstrates the reasonableness of the State court’s

decision. In Rayford v. Stephens, 622 F. App’x 315 (5th Cir. 2015), Rayford claimed that the

two murders he committed stemmed from “abandonment rage” and that his attorneys should

have presented this defensive theory at trial. 662 F. App’x at 320. The State habeas court rejected

the claim noting that abandonment rage “would only show a motive for the murders [and] would

not negate mens rea or otherwise excuse the killings . . . [and] would not be mitigating.” Id. at


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322, 336. The Fifth Circuit upheld the denial of federal habeas relief finding that the State court

decision was objectively reasonable. Id. at 336–37.

         In affirming the denial of relief, the Fifth Circuit recognized that the abandonment rage

theory would present negative information. Id. at 337. The court noted that “while the theory

would offer a reason for Rayford’s violent rage, it would simultaneously undercut his argument

on the future dangerousness issue.” Id. Thus, trial counsel was not deficient because “‘a

tactical decision not to pursue and present potential mitigating evidence on the grounds that it is

double-edged in nature is objectively reasonable, and therefore does not amount to deficient

performance.’” Id. (quoting Lamb v. Johnson, 179 F.3d 352, 358 (5th Cir. 1999)). Like the

situation in Rayford, Mr. Gardner failed to prove trial counsel’s deficiency in failing to investigate

abandonment rage or that any harm came of the omission. Trial counsel were not deficient in

failing to make the defense of “abandonment rage” a consistent theme between both phases of

trial.

         Mr. Gardner cannot obtain habeas relief as to his abandonment-rage claims. See Rayford,

622 F. App’x at 336–37. Abandonment rage theory does not undermine the burglary manner and

means.     Even if Mr. Gardner was uncontrollably furious at his failed relationship, he did not

have effective consent to enter Tammy’s home and then shoot her while she lay in bed. Those

facts are sufficient to sustain capital murder in this case and are not impacted by Mr. Gardner’s

abandonment rage defense.     Accordingly, there is no reasonable probability of a different result at

the guilt-innocence phase of trial had abandonment rage been advanced as a defense. The State

habeas court’s decision to deny relief on this point is not objectively unreasonable.




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       2.      The State court’s rejection of the theory that counsel were ineffective for failing
               to advance a consistent and effective theory throughout both phases of trial was
               reasonable (Claim Two).

       Mr. Gardner contends that counsel advanced a defense that was not consistent between the

guilt-innocence and punishment phases of trial and that the inconsistent defense was ultimately

a losing strategy.     (Dkt. # 16, at pp. 63–87).     Essentially, Mr. Gardner criticizes counsel’s

performance because they did not advance the abandonment rage defense in both phases of trial.

(Dkt. # 16, at pp. 68–71). Mr. Gardner claims that prejudice is either presumed (Dkt. # 16, at p. 72)

or is present based on the facts in this case (Dkt. # 16, at pp. 72–87) because counsel did not

advance this theory.     Mr. Gardner, however, cannot show deficiency or prejudice, as it is not

presumed, and Mr. Gardner does not show that the State court’s decision was contrary to Supreme

Court precedent or an unreasonable application thereof.

       Counsel explained in their affidavit to the State habeas court that they adopted two

strategies—one for the guilt-innocence phase and one for the punishment phase. 2 SHCR 339.

Counsel averred that in the guilt-innocence phase, they attempted to negate the two manner and

means of capital murder—burglary and retaliation. 2 SHCR 339–40. As to burglary, counsel

focused on showing that there was no forced entry into Mrs. Gardner’s home, namely “that [Mr.

Gardner] entered the residence by invitation and nothing else.” 2 SHCR 340. To negate retaliation,

counsel pointed out that Mr. Gardner had not contested the divorce and that the divorce could have

been completed without Mr. Gardner’s participation. 2 SHCR 340.

       Mr. Gardner reasserts that the State court decision is not entitled to AEDPA deference

because there was no live evidentiary hearing. (Dkt. # 16, at pp. 86–87). AEDPA deference

applies despite the fact that the court ruled on the papers instead of conducting a live hearing.

Carter v. Johnson, 131 F.3d 452, 460 n.13 (5th Cir. 1997) (collecting cases); see also Hudson v.




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Quarterman, 273 F. App’x 331, 335 (5th Cir. 2008) (citing Carter v. Johnson with approval).

       The State habeas judge, who also presided over Mr. Gardner’s trial, was able to evaluate

Mr. Gardner’s State habeas claims, including whether the affidavits sufficiently showed that

counsel should have discovered and offered the specified mitigating evidence, informed by the

court's knowledge of the trial proceedings and defense counsel's performance at trial. The lack

of a live hearing in State court thus does not defeat the presumption of deference in this case. See

Valdez, 274 F.3d at 951.

       In the punishment phase, counsel had a two-pronged strategy. First, counsel attempted

to humanize Mr. Gardner, and second, counsel focused on the State’s burden of proving future

dangerousness in prison beyond a reasonable doubt. 2 SHCR 340–41. As to the first prong,

counsel explained that the mitigation expert “discovered little or nothing that was deemed useful

for trial,” that Mr. Gardner’s father chose not to attend Mr. Gardner’s trial, and that Mr. Gardner’s

mother was too “emotionally unstable” to testify. 2 SHCR 340–41. As to the second prong,

counsel relied on the fact that the State, during voir dire, emphasized that they had the burden on

proving future dangerousness beyond a reasonable doubt, and “that future dangerousness could be

measured in terms of the society that existed in prison.” 2 SHCR 341.

       Counsel noted that the State, at trial, put on no evidence concerning Mr. Gardner’s

likelihood of future danger while incarcerated. But, if they had presented evidence showing that

Mr. Gardner had a low likelihood of future violence in prison, “the State would call at least one

expert to rebut our testimony giving the jury an out.” 2 SHCR 341. Recognizing that the State

did not present evidence concerning Mr. Gardner’s future dangerousness in prison, counsel

consulted with John Niland of the Texas Defender Service and Bill Schultz, a local attorney,

regarding the decision to rest without presenting evidence of Mr. Gardner’s low probability of



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violence in prison, “and both agreed that it seemed sound.” 2 SHCR 341–42.

       The State habeas court found that counsel purposefully chose different strategies during

both phases of trial (2 SHCR 390 (Finding 45)). Counsel focused on negating the manner and

means of capital murder at guilt-innocence (2 SHCR 390 (Finding 46)) At punishment, they

humanized Mr. Gardner and relied on the argument that the State failed to meet its burden to

prove future dangerousness beyond a reasonable doubt ( 2 SHCR 390 (Finding 48)). The court

determined that these were reasoned strategies. 2 SHCR 390 (Findings 47 & 49). Although they

were different, they were not inconsistent with each other. 2 SHCR 390–91 (Finding 50). While

acknowledging that counsel should seek a single theory of a case, the court found that in this case,

it was reasonable to have multiple theories. 2 SHCR 391 (Findings 52, 53 & 54).

       The State habeas court also found that prejudice was not presumed because counsel

“subjected the prosecution’s evidence to meaningful adversarial testing” (2 SHCR 391 (Findings

55 & 56)), and that presentation of abandonment rage would not have affected the jury’s

decision on guilt or innocence (2 SHCR 392 (Finding 57)), or punishment (2 SHCR 392

(Findings 58, 59, 60 & 61)). This is largely because abandonment rage did not legally excuse the

killings (2 SHCR 388 (Findings 32, 35 & 37)), is not supported or is inconsistent with the evidence

proffered by Mr. Gardner (2 SHCR 388 (Finding 34), 392 (Finding 59)) and would have been

double-edged (2 SHCR 392 (Findings 58 & 60)). The decision of the State court is objectively

reasonable.

       The Director points out that counsel did not present abandonment rage as a consistent

defense throughout trial because the investigators and experts did not inform them of such a

defense. 2 SHCR 387 (Findings 23 & 24). Federal law is in accord with the State court’s decision

that counsel are not deficient in failing to present a psychological defense if their experts do not




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raise the issue. See Couch, 632 F.3d at 246; McClain, 552 F.3d at 1252; Sims, 425 F.3d at 585–86;

Dowthitt, 230 F.3d at 747–48; Hendricks, 70 F.3d at 1038. Accordingly, the State court’s decision

was reasonable on grounds of non-deficient performance alone.

       Counsel’s strategy for the guilt-innocence phase was reasonable. They focused on negating

the burglary and retaliation manner and means. 2 SHCR 340. The defense options in this case

were limited. There was compelling evidence that Mr. Gardner killed Mrs. Gardner. In her last

few minutes of consciousness, Mrs. Gardner identified Mr. Gardner as her assailant. She

further accurately described the vehicle he was driving. This evidence was corroborated by Mr.

Gardner’s sister, brother-in-law, credit card statements, fingerprints, and microscopic fiber

analysis. In light of the overwhelming evidence that Mr. Gardner killed Mrs. Gardner, a

reasonable attorney could have decided that the most prudent defensive course would be to limit

Mr. Gardner’s exposure to a death sentence by holding the State to its burden of proving the manner

and means which enhanced the crime to capital murder. Richter, 562 U.S. at 109, 131 S. Ct. at 790

(“To support a defense argument that the prosecution has not proved its case it sometimes is better

to try to cast pervasive suspicion of doubt than to strive to prove a certainty that exonerates.”).

       Disagreement with counsel’s strategy does not show deficiency. See Strickland, 466 U.S.

at 689, 104 S. Ct. at 2065 (“Even the best criminal defense attorneys would not defend a particular

client in the same way.”). The State court’s decision is objectively reasonable on this point.

       Counsel’s strategy for punishment was an attempt to humanize Mr. Gardner by calling

Mr. Gardner’s sister, who testified about physical and emotional abuse inflicted by Mr. Gardner’s

parents, and pleaded for Mr. Gardner’s life, and by calling Mr. Gardner’s co-workers. Counsel

additionally hired investigators and experts to conduct a mitigation investigation but “had

discovered little or nothing that was deemed useful.” 2 SHCR 340–41.




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       Counsel explained that:

                We did check Mr. Gardner’s prior childhood accidents and injuries on our
       mitigation [investigation]. There didn’t seem to be anything other than what Elaine
       Holifield [Mr. Gardner’s sister] testified to. There was [sic] no serious illnesses at
       any time. There was physical abuse to [Mr. Gardner] and Elaine. We have testimony
       to that. There was no sexual abuse of any type.

                The—the immediate family was checked as to the size of the immediate family,
       which was four—plus grandchildren. We checked with—as far as the relationship and
       attitudes toward the member that was drug—we checked whether or not there was drug
       or alcohol abuse by Mr. Gardner or any members of the family. There was no—we
       checked whether there was any mental health treatment that would aid in mitigation
       in this case and—and also to the cohesiveness of the family. We’ve done that through
       all our experts. The family standard of living and living conditions.

               There were no available school records for Mr. Gardner. They were all too
       old and could not be captured. We checked as far as the social relationships with
       members of, basically, the opposite sex, marriage, divorces, et cetera; and that’s all
       come into evidence. And any—all awards or honors or special accomplishments.
       That can be shown by his Army records. And any and all traumatic experiences,
       anything at all, especially proud moments. Memberships in relig—religious, social,
       educational and charitable organizations. And as far as his best and worst side
       memories.

              Those are all items that our experts and myself have checked and determined
       what to put on in this case.

23 RR 77–78.

       Three days before the start of the punishment phase of trial Mr. Gardner told his attorneys

that he did not want a mitigation case presented. See 23 RR 76. Counsel sought to have Mr.

Gardner’s father and mother testify on his behalf, but they c h o s e t o b e u n available. 2 SHCR

341; see 23 RR 54 (Mr. Gardner’s sister testifying that she would not let Mr. Gardner’s parents

attend trial). Counsel cannot present what does not exist, and the State court’s decision on this

point is objectively reasonable. See Carty v. Thaler, 583 F.3d 244, 258 (5th Cir. 2009) (“We must

be particularly wary of arguments that essentially come down to a matter of degrees. Did counsel

investigate enough? Did counsel present enough mitigating evidence? Those questions are even

less susceptible to judicial second-guessing.”) (quoting Dowthitt, 230 F.3d at 743).


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       Counsel made a strategic decision to rest their punishment case without presenting a

risk assessment expert. As early as the voire dire jurors knew that the State had assumed the burden

of proving future dangerousness beyond a reasonable doubt, including future danger within a

prison society. But the State put on no evidence regarding Mr. Gardner’s probability of violence

while incarcerated. 2 SHCR 341–42; see, e.g., 6 RR 14–17 (State accepting burden of proving

future dangerousness including in “prison society”). Counsel informed the trial court that they

purposefully chose to omit calling a risk assessment expert as a matter of strategy and that Mr.

Gardner concurred in their judgment. 23 RR 74–75. Had counsel attempted to put on risk

assessment evidence, the State was prepared to put on their own expert in rebuttal. 2 SHCR 341.

       Counsel tried to demonstrate that Mr. Gardner was a good inmate by introducing his jail

records. The State responded by calling A.P. Merillat, a well-known TDCJ expert, to rebut the

implication that Mr. Gardner was a good prisoner. 23 RR 61–64. In order to prevent Merillat’s

testimony, counsel withdrew the jail records as an exhibit. 23 RR 64–65. If the mere implication

that Mr. Gardner was well-behaved in prison was enough to trigger the State’s rebuttal, an expert’s

risk assessment testimony would have triggered further action by the State. Counsel may reasonably

formulate a strategy based on holding the State to its burden of proof. See Richter, 562 U.S. at 109,

131 S. Ct. at 790. Counsel may also reasonably withhold evidence it suspects will evoke a strong

response from the State. See Strickland, 466 U.S. at 699, 104 S. Ct. 2070-71. Accordingly, the

State court’s decision to deny relief on this point was reasonable.

       The State court’s finding that failing to present the theory of “rage abandonment”

throughout trial counsel was not deficient not an unreasonable determination of Supreme Court

precedent. Presenting the rage abandonment theory means that an attorney would have (1) conceded

that Mr. Gardner killed Mrs. Gardner as a predicate to advancing the defense; (2) hoped that




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abandonment rage negated the retaliation manner and means despite considerable contrary

evidence that the divorce, and not the split, triggered the killing; (3) conceded manner and means

of the burglary because abandonment rage strengthens the idea that Mr. Gardner entered Mrs.

Gardner’s home with the intent to kill her and without her effective consent; (4) hoped that the jury

viewed abandonment rage as mitigating evidence although it demonstrates Mr. Gardner’s violent

tendencies; and (5) conceded future danger, as the condition only makes Mr. Gardner more

likely to explode in a violent rage.

       An attorney is hardly deficient for avoiding the pitfalls attached to the theory of

abandonment rage. Mr. Gardner argues that this court should consider the juror affidavits that the

State habeas court struck as inadmissible. Pet. at pp. 61–63, 83–84. For the reasons set out above in

section A(4) this court may not consider the juror affidavits. And even if the affidavits were to be

considered, it cannot be said that they demonstrate Mr. Gardner’s contention that trial counsel

were wrong in believing conservative Collin County jurors were not likely to accept an

abandonment rage theory. Pet. at pp. 24–25.

       Each juror that Mr. Gardner points to couched their consideration language in vague terms.

For example, one juror stated that the evidence “may have affected my sentencing deliberations” (1

SHCR 103), while another stated that she “would have seriously considered” the evidence (1

SHCR 104). None of the affidavits state with specificity that abandonment rage would have been

considered or that such evidence would have caused any of the jurors to change their mind.

Simply because the jurors would have considered abandonment rage had it been presented at

trial—as any juror would have been required to do—does not transform the theory from “novel”

to “scientifically accepted.” In other words, jurors must consider all of the evidence admitted

before them, whether it is novel or well-researched.




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       Counsel were not concerned with whether jurors would have just considered abandonment

rage theory, but whether such a defense was an effective theory to which the jury would have

responded. 2 SHCR 339. Tailoring strategies for a local population is a permissible consideration

for an attorney. See Strickland, 466 U.S. at 695, 104 S. Ct. 2068. Even if Mr. Gardner’s trial counsel

were wrong about these particular jurors, Mr. Gardner has not shown that trial counsel’s perception

of the Collin County venire pool was wrong. Even if the the juror affidavits could be considered,

they do not undermine counsel’s reasonable actions prior to trial. They do not provide clear and

convincing evidence undermining specific fact-findings by the State habeas court, show the

unreasonableness of that court’s decision, or provide a basis for an evidentiary hearing.

       As such, the State habeas court did not act unreasonably on this issue. It was reasonable

for the State court to reject presumed prejudice, as this case is not like those where counsel failed

to challenge any aspect of the State’s case. Prejudice is presumed

       in only a very narrow spectrum of cases where the circumstances leading to counsel’s
       ineffectiveness are so egregious that the defendant was in effect denied any meaningful
       assistance at all. The Supreme Court recently has emphasized that for [United States v.
       Cronic, 466 U.S. 648 (1984)] to apply, the attorney’s failure must be complete. For
       purposes of distinguishing between the rule of Strickland and that of Cronic, the Court
       held that a case does not come under Cronic merely because counsel failed to oppose
       the prosecution . . . at specific points in the trial. It is not enough for the defendant to
       show mere shoddy representation or to prove the existence of errors, omissions, or
       strategic blunders by counsel. Bad lawyering, regardless of how bad, does not
       support the per se presumption of prejudice.

Johnson v. Cockrell, 301 F.3d 234, 238 (5th Cir. 2002)(internal citations and quotations

omitted)(emphasis added). The present case does not present a Cronic- type situation and the State

court’s refusal to apply per se prejudice was not unreasonable.

       As to guilt-innocence, presentation of abandonment rage would not have affected the

jury’s decision. The presentation of abandonment rage would not have altered the outcome of trial

concerning Mr. Gardner’s guilt. The evidence at trial showed that the divorce triggered Mr.



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Gardner’s homicidal behavior. Mr. Gardner’s own State habeas evidence contradicted the argument

that his uncontrollable rage emanates from abandonment; and abandonment rage theory does

nothing to detract from the burglary manner and means. Rather, it strengthens the State’s case on

that point. The decision of the State court is reasonable on this matter.

       Further, there is no reasonable probability that the jury’s decision would have been

different as to punishment. It cannot be said that abandonment rage is supported by Mr. Gardner’s

State habeas evidence or the evidence at trial. Mr. Gardner killed his former wife Rhoda because

she would not leave him—the opposite of abandonment. See 1 SHCR 159. Mr. Gardner

became violent with Westmoreland shortly after they married. See 1 SHCR 191. Mr. Gardner

became violent with Mrs. Gardner soon after their marriage. See 19 RR 192–96, 214, 232–35,

285–86; 20 RR 152. Mr. Gardner was violent with his stepchildren. See 22 RR 43, 69, 71–72,

77, 124–27. Mr. Gardner experienced “anger episodes” not related to abandonment. 1 SHCR

195. Such a defense theory would have been unlikely to sway any jury.

       The theory of “abandonment rage” would have supported the State’s case on future

dangerousness, and weakened the mitigation case, as it demonstrates the capacity for violence.

The failure to present a mental health issue, especially one so poorly supported by the evidence,

does not amount to prejudice, where it will likely do more harm than good. See, e.g., Dowthitt, 230

F.3d at 745 (“[T]rial counsel’s actions in not discovering and presenting the records to the jury to

bring out indications of mental illness do not create a ‘probability sufficient to undermine

confidence in the outcome.’”). Cf. Atkins v. Virginia, 536 U.S. 304, 321, 122 S. Ct. 2242, 2252

(2002) (noting that mental health issues can support a future dangerousness case more than provide

a case of mitigation). The State habeas court’s denial of relief on the claim of prejudice does not

amount to an unreasonable application of Supreme Court precedent.




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C.     The State court’s decision that counsel were not ineffective for failing to develop and
       present mitigating evidence was not unreasonable (Claims Three and Four).

       Mr. Gardner claims that counsel were ineffective because they did not perform an

adequate mitigation investigation—ground three—and then present the mitigating evidence that

should have been discovered—ground four—at the punishment phase of trial. Pet. at pp. 88–

128. 3 Mr. Gardner asserts that the investigation was inept. See Pet. at p. 105. He further contends

that the information gathered by counsel was not appropriately arranged. See Pet. at p. 105. Mr.

Gardner contends that these deficiencies had an impact on many of counsel’s strategic decisions.

See Pet. a t p p . 106–07. Mr. Gardner argues that if the mitigation investigation had been

conducted properly, counsel would have discovered and presented evidence explaining Mr.

Gardner’s murder of Rhoda. See Pet. at pp. 107–11. He further argues that a proper investigation

would have corroborated the abuse Mr. Gardner suffered at the hands of his father. See Pet. a t

p . 111. He claims that a thorough investigation could have provided justification for Mr.

Gardner’s actions through the rage abandonment theory. See Pet. at pp. 111–13. Mr. Gardner

claims such an investigation would have led to different result. See Pet. at pp. 114–28. This court

finds that the State court’s decision to deny relief, was neither contrary to, nor an unreasonable

application of, Supreme Court precedent.

       1.      The State court record and the State court’s decision to deny relief

       Mr. Gardner’s counsel explained their investigation to the State habeas court by affidavit.

Lead counsel started a fact investigation upon appointment, which the investigator and mitigation

specialist took over. 2 SHCR 342. Second chair counsel, the investigator, and the mitigation




       3
          Mr. Gardner lists claims three and four separately but briefs them as a single claim.
Pet. at pp. 88–128. Therefore, these claims are consolidated for discussion and disposition.


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specialist thereafter traveled to Mississippi—Mr. Gardner’s long-time home and where most of his

family and friends lived—to develop mitigation witnesses derived from “family contacts,

interviews with [Mr. Gardner] and interviews with childhood friends.” 2 SHCR 342. These three

individuals also spent considerable time with Mr. Gardner’s parents, attempting to probe

allegations of childhood abuse, but the parents denied inflicting such treatment and insisted that

Mr. Gardner was a “normal kid.” 2 SHCR 342–43. Their refusal or inability to cooperate “led to

very little of importance being developed through the time spent with them.” 2 SHCR 343.

       Counsel were candid in their assessment of the mitigation investigation, including taking

issue with their mitigation specialist who they acknowledged was “overly close” with Mr. Gardner’s

family, and was paranoid about discovery, so she therefore refused to put her investigation on

paper. 2 SHCR 342–43. Counsel never stated, however, that they did not receive the results

of the mitigation specialist’s investigation (presumably through oral reports). But even if they did

not, counsel stated that most of the information developed in Mr. Gardner’s State habeas

proceeding was of little value and not new to them. 2 SHCR 343.

       Counsel knew that Mr. Gardner had participated in the gay and transgender community,

but they weren’t able to develop any witnesses through their investigator. 2 SHCR 343. Mr.

Gardner allegedly had a relationship with a male transvestite working as a drag queen in Dallas

nightclubs. They were not able to locate this individual, who went by the name “China Blue.” 1

SHCR 170–71. Counsel further stated they would not have introduced such evidence because it

“would have hurt, more than helped, Mr. Gardner” given the conservative attitudes of Collin County

jurors. 2 SHCR 343.

       Counsel also would not have called William “Billy” Stone, Mr. Gardner’s Army friend,

while they were stationed in Hawaii. 2 SHCR 343–44. Stone characterized Mr. Gardner as a




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womanizer whose “constant focus on sex would not have [had] a positive effect on any jury

and especially a Collin County jury.” 2 SHCR 344.

       Counsel also addressed the supposed failure to present mitigating evidence. They explained

that the available evidence “could cause more harm than good.” 2 SHCR 344. Counsel elaborated

there “wasn’t much [evidence] available given the life style [Mr. Gardner] had lived including his

past homosexual relationships, his past history of violence in many if not all of [his] relationships

and the limited testimony from his family.” 2 SHCR 344–45. While Mr. Gardner’s sister “spoke of

the unbearable abuse” inflicted by Mr. Gardner’s parents, his parents “would not, or refused to,

admit to any abusive behavior on their part.” 2 SHCR 345.

       Counsel retained a mental health expert “to examine and address . . . abandonment

issues concerning [Mr. Gardner].” 2 SHCR 345. The mental health expert did not testify because

“at the conclusion of watching some of the [State’s] testimony[,]specifically when the step-

daughter stated [Mr. Gardner] had been very abusive to her—she decided she didn’t want to testify

because of [sic] lack of information and felt that he was psychotic.” 2 SHCR 345.

       Counsel concluded that they had consulted with their two testifying experts “before

letting them know of [the] decision not to present their testimony.” 2 SHCR 346. Further, counsel

consulted with John Niland, an attorney with the Texas Defender Service, and a local attorney,

Bill Schultz, regarding their mitigation strategy and “both concluded that [the] decision was a

sound trial strategy.” 2 SHCR 346.

       The State habeas court found that “[c]ounsel thoroughly investigated and prepared for

[Mr. Gardner’s] trial, including traveling to Mississippi to interview witnesses and hiring a

mitigation [specialist], a private investigator, and two mental health experts.” 2 SHCR 393

(Finding 64).




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       The court also found that counsel investigated Mr. Gardner’s “childhood, medical and

family history, prior drug and alcohol abuse, education, military service and other personal history”

and that such investigation was in line with the recommended practices of various courts. 2

SHCR 393 (Findings 65 & 66).

       The State habeas court also noted that counsel discovered a host of evidence not favorable

to Mr. Gardner including: (1) Mr. Gardner’s prior deviant sexual relationships; (2) a history of

violence in prior relationships; (3) and a mental health expert’s opinion that Mr. Gardner was

psychotic. 2 SHCR 393–94 (Finding 68). The court further declared that counsel discovered

much of the same evidence presented by Mr. Gardner during the state habeas proceeding and that

counsel did not have to prepare such information in a “timeline” format. 2 SHCR 394 (Findings

69 & 70). The court concluded that counsel’s performance was not deficient. 2 SHCR 394 (Finding

72).

       In addition, the State habeas court held that Mr. Gardner had not proven prejudice. 2

SHCR 395 (Finding 74). The court found that the affidavits of Sylvia, Donald, and Randy Reeves

“did not provide credible, helpful testimony.” 2 SHCR 395 (Finding 75 & 76). The court noted that

in fact, the Reeves’ affidavits provided multiple instances of information unfavorable to Mr.

Gardner, such as: (1) contradicting Mr. Gardner’s explanations concerning the murder of Rhoda;

(2) highlighting the similarities between the murders of Mrs. Gardner and Rhoda; (3) proving

that Mr. Gardner “ manipulate[d] those around him;” (4) showing that Mr. Gardner was

“frequently and irrationally angry”; and (5) bringing attention to the fact that none of the Reeveses

had anything to do with Mr. Gardner after he assaulted Becky nearly twenty years earlier. 2

SHCR 395–96 (Finding 76).




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       Concerning the affidavit of Louise Lillis, a former congregant of Mr. Gardner’s father’s

church, the state habeas court found that it “was not compelling and would not have affected the

result of the proceeding.” 2 SHCR 396 (Findings 77 & 78). This was because: (1) Lillis only heard,

but did not see, a single instance of corporal punishment; (2) “Lillis’s testimony would not have

significantly corroborated or strengthened” Mr. Gardner’s sister’s testimony of childhood abuse

at trial; and (3) Lillis would have been cross-examined with information that Mr. Gardner had a

good relationship with his parents. 2 SHCR 396–97 (Finding 78).

       The State habeas court also determined that Mr. Gardner’s testifying mental health expert,

Dr. Allen, “refused to testify after hearing the testimony of other witnesses and believed that [Mr.

Gardner] was psychotic.” 2 SHCR 397 (Finding 79). The court decided that Dr. Kessner’s

testimony regarding abandonment rage: (1) would not have been persuasive given the multiple

inconsistencies found in the evidence supposedly supporting such diagnosis; (2) would have

brought attention to the fact that Mr. Gardner “was consistently violent and incapable of ever

forming normal, nonviolent relationships”; and (3) would have been of little persuasive force

given Mr. Gardner’s history of feigning mental health symptoms. 2 SHCR 397 (Finding 80). The

court found that the remaining evidence proffered by Mr. Gardner—ostensible sex addiction—

was not mitigating, and that, considering all of the new evidence offered by Mr. Gardner, the

jury’s decision on the special issues would not have been affected. 2 SHCR 397–98 (Findings

81 & 82).

       2.      Counsel’s mitigation investigation was not deficient, and the State Court’s
               decision on this point is reasonable.

       An ineffective assistance claim alleging a deficient mitigation investigation is governed

by Strickland. Wiggins v. Smith, 539 U.S. 510, 521, 123 S. Ct. 2527, 2535 (2003). The standard

requires that the litigant prove deficient performance—representation falling below an objective


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standard of reasonableness—and prejudice—a reasonable probability that the proceeding would

have been different but for counsel’s errors. Id. In the context of mitigation investigations,

“counsel has a duty to make reasonable investigations or to make a reasonable decision that makes

particular investigations unnecessary.” Strickland, 466 U.S. at 691, 104 S. Ct. at 2066. The

inmate, in a postconviction proceeding, must present what background evidence should have

been discovered but for counsel’s deficient investigation and prove that “there is a reasonable

probability that, absent the errors, the sentencer . . . would have concluded that the balance of

aggravating and mitigation circumstances did not warrant death.” Id. at 695, 2069.

       Counsel performed adequately in their investigation and presentation of mitigating

evidence. Counsel utilized an investigator, a mitigation specialist, a consulting mental health

expert, a testifying mental health expert, and a risk assessment expert. 1 SHCR 112, 204;

2 SHCR 338–39, 342, 345. Among other areas, Counsel investigated the following: Mr.

Garner’s prior childhood accidents and injuries, whether Mr. Gardner was physically

abused, whether Mr. Gardner was sexually abused, whether Mr. Gardner or any member of

his family had abused drugs or alcohol, whether any mental health treatment would have

aided mitigation in the case, the cohesiveness of Mr. Gardner’s family, the family’s standard

of living and living conditions, Mr. Gardner’s school records, Mr. Gardner’s social

relationships with members of the opposite sex, any awards, honors, or special

accomplishments Mr. Gardner received, any and all traumatic experiences Mr. Gardner

experienced, Mr. Gardner’s memberships in religious, social, educational, and charitable

organizations, and Mr. Gardner’s best and worst memories. See 23 RR 77–78. Counsel

disclosed the lengths of their mitigation investigation to the trial court, notably before

any allegations of ineffectiveness arose.




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       Mr. Gardner’s own state habeas evidence confirms this investigation. Dr. Kessner

explained in her affidavit to the State habeas court that she had reviewed: (1) “the interviews” that

she conducted of Mr. Gardner and members of his family in preparation for trial (1 SHCR 111);

(2) the voluntary statements of individuals who testified for and against Mr. Gardner at trial ( 1

SHCR 111); (3) the “Collin County Jail Medical Records” ( 1 SHCR 112); (4) the “State of

Mississippi, Department of Corrections” records (1 SHCR 112); (5) the “Psychological Records

from Kristi Compton, Ph.D., case consultant” (1 SHCR 112); and (6) the “Affidavit and Case

Notes from Kate Allen, Ph.D. expert witness” (1 SHCR 112). These documents were generated

during the investigation of Mr. Gardner’s background, and in preparation of a mitigation case.

       Mitigation specialist Toni Knox admitted that “much of the social history information that

I used to compile the current psychosocial history was obtained from previous notes and interviews

by the private investigator, consulting psychologist, and mitigation specialist.” 1 SHCR 125

(footnote omitted). Knox also admitted that “someone . . . in the initial mitigation investigation”

prepared a psychosocial history “but the dates were vague and the time line did not document what

records the information was taken from.” 1 SHCR 125. Knox stated that “a considerable amount

of information concerning [Mr. Gardner’s] social history [was obtained] through interviews

and writings to the mitigation specialist” but was lacking because the mitigation specialist did

not conduct a “diverse investigation and interviews of corroborating witnesses.” 1 SHCR 125–

26.

       Counsel made a reasonable investigation into Mr. Gardner’s background, which in turn,

makes the State habeas court’s denial of relief on this point reasonable. Knox stated that “much of

the social history information” that Mr. Gardner presented to the State habeas court came

from counsel’s investigation into Mr. Gardner’s background. 1 SHCR 125. Counsel employed an




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investigator, a mitigation specialist, and mental healthy experts in accord with then-prevailing

guidelines. American Bar Association, Guidelines for the Appointment and Performance of

Defense Counsel in Death Penalty Cases, Revised Edition, 31 HOFSTRA L. REV. 913, 952

(2003) (guideline 4.1) (stating that the defense team should consist include at least two attorneys,

an investigator, and a mitigation specialist). Counsel also repeatedly talked with Mr. Gardner and

multiple witnesses and reviewed documents to discover Mr. Gardner’s life history. This is also in

agreement with then-applicable attorney-practice norms. Id. at 1015, 1022–27 (guideline 10.7 &

commentary) (the defense team should explore medical history, family and social history,

educational history, military service, employment, and prior incarcerations); see also Wiggins, 539

U.S. at 524, 123 S. Ct. at 2537.

       As a result of that investigation, counsel called several witnesses during the punishment

phase to testify on Mr. Gardner’s behalf, including coworkers (employment and spiritual

beliefs) and Mr. Gardner’s sister (family and social history), and introduced records of his time in

the Army (military service). The court finds that counsel’s investigation was well within the then-

prevailing standards of practice, and it is even more readily apparent when the results of counsel’s

investigation are compared with the evidence that Mr. Gardner provided to the State habeas court.

       Mr. Gardner turned up five new witnesses during the State habeas proceeding, and all

have minimal mitigating impact. The first, Sylvia Reeves, was Mr. Gardner’s sister-in-law after Mr.

Gardner married Westmoreland, his third wife. 1 SHCR 191. Sylvia discussed how she first met

Mr. Gardner, and how her family came to enjoy Mr. Gardner’s company. 1 SHCR 189. She stated

that Mr. Gardner married Rhoda when he was twenty-six and Rhoda was seventeen, and asserted

that Rhoda played emotional “games” with Mr. Gardner by continuing to contact her ex-husband

after marrying Mr. Gardner. 1 SHCR 189–90. Sylvia also related that Mr. Gardner stole the



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weapon that he shot Rhoda with from Sylvia’s husband and that Mr. Gardner had made a full

confession to her where he expressed remorse. 1 SHCR 190. Sylvia additionally thought that

codeine-based “cough syrup might have contributed to [Mr. Gardner’s] state of mind” when he

shot Rhoda. 1 SHCR 190.

       Further, Sylvia explained that Mr. Gardner eventually married her sister, Westmoreland,

but “seemed to get increasingly unstable and treated [Westmoreland] like she was property.” 1

SHCR 191. After hitting Westmoreland’s daughter Becky in the head, Sylvia “did not want

anymore to do with [Mr. Gardner.]” 1 SHCR 191. Sylvia also mentioned that Mr. Gardner had

“impulse control and anger problems” and that he reacted violently on a number of occasions. 1

SHCR 191–92.

       The second affidavit was provided by Sylvia’s husband, Donald Reeves. 1 SHCR 195.

He stated that Mr. Gardner “seemed like a nice guy,” but “had these anger episodes” that he termed

“flash- overs” or “spasms.” 1 SHCR 195. Donald also expounded that Rhoda was “manipulative”

and still in contact with her ex-husband despite marrying Mr. Gardner. 1 SHCR 195. He further

averred that Mr. Gardner expressed remorse over shooting Rhoda. 1 SHCR 195. The third affidavit

came from the son of Sylvia and Donald, Randy Reeves. 1 SHCR 198. Randy explained that

he initially liked Mr. Gardner, but became “nervous” around Mr. Gardner because Mr. Gardner

was “extremely jealous” of Rhoda, and had threatened to kill Randy for flirting with Rhoda. 1

SHCR 198–99. Randy also mentioned that he had heard that Mr. Gardner did not treat Randy’s

grandmother well and that Mr. Gardner hit Becky, Westmoreland’s daughter, in the head. 1

SHCR 199–200.

       The fourth undiscovered witness was Louise Lillis, a former congregant of Mr. Gardner’s

father’s church. 1 SHCR 202. Lillis stated that Mr. Gardner “was a likeable boy” whose father




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was “very strict.” 1 SHCR 202. She recalled an incident at church where she heard what sounded

like “a particularly harsh whipping” of Mr. Gardner by his father. 1 SHCR 202.

       The final affidavit was provided by William “Billy” Stone, a friend of Mr. Gardner’s while

he was stationed in Hawaii on active duty with the Army. 1 SHCR 213. Stone recounted that Mr.

Gardner “was popular with the women,” and that “he was constantly pursuing women and was

totally focused on sex.” 1 SHCR 213. Stone explained that Mr. Gardner had sex with single and

married women, including the wife of a good friend. 1 SHCR 213.

       Mr. Gardner suggests that counsel should have presented: (1) three witnesses (the Reeves)

who were initially fond of Mr. Gardner until he became violent towards his then-wife Rhoda—

eventually shooting her—and thereafter married into the family and became violent with multiple

relatives—Sylvia’s sister, Westmoreland, and Westmoreland’s daughter, Becky; (2) a witness

( Li l l i s ) who could have “corroborated” a session of corporal punishment inflicted on Mr. Gardner

by his father on a single occasion, and (3) a former friend (Stone) who described Mr. Gardner as

obsessed with sex regardless of the consequences. Pet. at pp. 109–13, 114–126. It is

disingenuous to argue that this type of evidence would have been favorably received by any

jury, much less create a mitigating impact on punishment.

       Mr. Gardner also fails to explain how this additional background evidence made

abandonment rage appealing to Mr. Gardner’s State habeas expert, Dr. Kessner. The State

habeas mitigation investigation found so little “new” evidence of Mr. Gardner’s background that it

indicates the pre-trial investigation was thorough.

       It cannot be said that counsel was deficient for choosing not to present a mental health

expert, Dr. Allen, who determined that Mr. Gardner “was psychotic.” 2 SHCR 345. This is a

reasonable, strategic decision. See, e.g., Dowthitt, 230 F.3d at 747 (“[C]ounsel’s decision not to



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put a witness on the stand who himself is not entirely favorable . . . is not objectively

unreasonable.”).

       Counsel cannot be faulted for failing to corroborate Mr. Gardner’s claims of abuse at

his parents’ hands. Mr. Gardner’s sister, Elaine, testified that the abuse was hidden to the outside

world. 23 RR 39 (“I don’t know if I can make y’all understand the way it was in our house. It

was like two lives were led, the one in front of the public, and then the one behind closed

doors.”) Mr. Gardner’s parents consistently denied the abuse when asked. 2 SHCR 345. This

does not render counsel’s performance deficient. See, e.g., Dowthitt, 230 F.3d at 749 (“[C]ounsel’s

actions here would be characterized as reasonable trial strategy because they attempted to

investigate [the petitioner’s] background and were thwarted by uncooperative potential

witnesses.”); cf. Mirzayance, 556 U.S. at 125, 129 S. Ct. at 1421 (“Competence does not require

an attorney to browbeat a reluctant witness into testifying, especially when the facts suggest that

no amount of persuasion would have succeeded.”). Counsel also discovered Mr. Gardner’s

participation in the gay and transgender community, but they could not develop any viable

witnesses in that community through their investigator. This does not make the investigation

deficient. See, e.g., Dowthitt, 230 F.3d at 749. Accordingly, the State court’s decision that counsel

were not deficient is objectively reasonable.

       The State court’s alternative holding on deficiency is also reasonable. Counsel explained

that had they been able to locate “China Blue,” they would not have presented testimony

about Mr. Gardner’s sexual proclivities given the conservative attitudes of Collin County jurors.

Counsel may reasonably take into account the prevailing beliefs of a particular locale in

choosing to introduce certain evidence. See Strickland, 466 U.S. at 695, 104 S. Ct. at 2068. Mr.

Gardner has not challenged counsel’s assertion that Collin County is a conservative county where




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evidence of “alternate lifestyles” is not effective as mitigating evidence.

       The same is true for Stone’s proposed testimony of Mr. Gardner’s sexual escapades

with multiple women regardless of the woman’s relationship status. Promiscuity and infidelity

can be considered “aggravating” in the realm of moral culpability. See Bell v. Kelly, 260 F. App’x

599, 606 (4th Cir. 2008) (affirming denial of federal habeas relief because, in part, the un-

presented evidence would have “allowed the prosecution to emphasize multiple instances of

[the petitioner’s] infidelity”); cf. Rompilla, 545 U.S. at 392, 125 S. Ct. 2468 (evidence that

Rompilla’s father bragged about cheating on his wife was mitigating). The Reeves’ proposed

testimony was similarly damaging because it would have reiterated the killing of Rhoda and the

assaults of Westmoreland and Becky, and w o u l d h a v e undermined abandonment rage

by highlighting violent behavior unattached to real or perceived abandonment. Counsel is not

ineffective for choosing to avoid such evidence. Accordingly, the State habeas court’s decision on

deficiency is reasonable.

       3.      Counsel’s errors, if any, did not prejudice Mr. Gardner, and the State Court’s
               decision on this point is reasonable.

       Even if counsel’s performance was somehow deemed deficient, Mr. Gardner does not

establish prejudice. The State court’s denial of relief on this point is undoubtedly reasonable.

The beneficial elements of Mr. Gardner’s postconviction “mitigation” evidence can be summarized

as: (1) the Reeves initially believed Mr. Gardner was likeable (1 SHCR 189, 195, 198); (2) Mr.

Gardner’s second wife, Rhoda, played “games” with Mr. Gardner (1 SHCR 189–91, 195); (3) Mr.

Gardner might have been on codeine based cough syrup when he shot Rhoda (1 SHCR 190);

(4) Mr. Gardner expressed remorse over shooting Rhoda (1 SHCR 190, 195); (5) a single incident

of corporal punishment by Mr. Gardner’s father was corroborated by Lillis (1 SHCR 202); (6)

Mr. Gardner was friends with Stone while both were in the Army (1 SHCR 213–14); and (7)


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Mr. Gardner’s violence in relationships is explained by abandonment rage, which has a biological

component (1 SHCR 112–18). The benefits realized from this evidence are greatly outweighed

by the double edged nature of the evidence, and the State’s “aggravating” evidence.

       The Reeves’ affidavits provide the following damaging information: (1) they reiterate that

Mr. Gardner killed Rhoda, his second wife (1 SHCR 190, 195, 199); (2) they reiterate that Mr.

Gardner abused Westmoreland and her daughter ( 1 SHCR 191, 199–200); (3) they conflict

with Mr. Gardner’s abandonment rage diagnosis because they point to periods of violence

unrelated to abandonment (1 SHCR 191–92, 195, 198–99); (4) they opine that Mr. Gardner may

have abused an elderly woman (1 SHCR 199–200); and (5) they conflict with Becky’s testimony

that Mr. Gardner lacked remorse over the killing of Rhoda (1 SHCR 190, 195). Evidence exposing

prior acts of violence or conflicting with evidence at trial or counsel’s strategy does not prove

prejudice. See, e.g., Ladd v. Cockrell, 311 F.3d 349, 360 (5th Cir. 2002) (evidence of good

behavior “unlikely to have had a significant mitigating effect” because it would have exposed

defendant’s prior arson conviction, and arson was one of the manner and means of capital

punishment alleged); Kitchens v. Johnson, 190 F.3d 698, 703 (5th Cir. 1999) (evidence of an

abusive upbringing not prejudicial where it would have revealed instances of violent behavior

unconnected to inebriation, which contradicted the defendant’s argument at trial that he was only

violent when intoxicated).

       Further, it is likely that a defense of blaming the victim by discussing Rhoda’s “game

playing” would have backfired. See United States v. King, 604 F.3d 125, 142 (3d Cir. 2010)

(describing as disturbing a defendant’s attempt to blame a two-year-old sex abuse victim). It is

extremely unlikely that evidence regarding Rhoda’s faults would have justified Mr. Gardner’s

actions towards her, including shooting Rhoda, paralyzing her, and causing her to lose her unborn




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child before dying of medical complications arising from her injuries. This evidence would have

more likely repulsed the jurors and caused them to look more harshly at Mr. Gardner’s moral

culpability.

        Lillis’s hearing of a single incident of corporal punishment would not have made a

difference in the case. As explained by Mr. Gardner’s sister, Elaine, the abuse by Mr. Gardner’s

father was kept in-house. 23 RR 39 (“I don’t know if I can make y’all understand the way it was

in our house. It was like two lives were led, the one in front of the public, and then the one behind

closed doors.”). To the extent that Lillis’s testimony would have corroborated Elaine’s testimony

of childhood abuse, it was minimal. The jury could have believed that the single instance of

punishment described by Lillis was proper—not abusive—or it could have thought that an

isolated incident of physical abuse was nominally probative in the scheme of Mr. Gardner’s

moral blameworthiness. See Emery v. Johnson, 139 F.3d 191, 197 (5th Cir. 1997) (no prejudice

where the testimony “was duplicative of testimony given” at trial). Further, Lillis could have been

cross-examined, as Elaine was at trial, regarding Mr. Gardner’s letters to his parents where he

thanked them for being “great parents” who made “life a lot easier for me.” 23 RR 56. Mr.

Gardner’s recognition that his parents raised him with his best interests in mind minimizes any

notions of abuse, and it would have minimized the cumulative and trivially corroborative aspect

of Lillis’s testimony.

        It is not unreasonable to conclude that Stone’s proposed testimony of Mr. Gardner’s

sexual history while in the military, or the proposed testimony of Mr. Gardner’s deviant sexual

history, would not have affected the jury’s decision. The evidence of Mr. Gardner’s promiscuity with

married women, including women whose husbands were friends with Mr. Gardner, would have

lessened his plea for mercy and evidence of “alternate lifestyles,” including promiscuous behavior,




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could have backfired. See Bell, 260 F. App’x at 606; cf. Rompilla, 545 U.S. at 392, 125 S. Ct. 246.

Mr. Gardner cannot prove prejudice.

       If the theory of abandonment rage had been presented, it would not have established

prejudice. Mr. Gardner’s own evidence undermines the argument that his violent behavior is

linked with abandonment. The record is replete with examples of Mr. Gardner committing violent

acts without real or perceived abandonment. This contradiction does not prove prejudice. Kitchens,

190 F.3d at 703. In addition, Mr. Gardner’s abandonment rage would merely have provided

further evidence that Mr. Gardner could not control his emotions in a non-violent way, leading to

the inevitable conclusion that he posed a future danger. Therefore, no prejudice is shown. See Gray

v. Epps, 616 F.3d 436, 448 (5th Cir. 2010). Finally, the diagnosis of abandonment rage would have

been significantly undermined by Mr. Gardner’s own statements that he feigned mental health

issues to secure his release from the military. 1 SHCR 153. This also does not prove prejudice.

See Shuler v. Ozmint, 209 F. App’x 224, 231–32 (4th Cir. 2006) (no prejudice where counsel did

not introduce a suicide attempt that would have opened the door to evidence that defendant

had malingered on previous psychological examinations).

       When the undiscovered “mitigating” evidence listed above is compared to the

“aggravating” evidence presented at trial, it is beyond doubt that the state court’s decision was

reasonable. See Strickland, 466 U.S. at 695–96. Mr. Gardner shot and paralyzed Rhoda, which

eventually resulted in the loss of an unborn child and Rhoda’s life. 22 RR 16–20, 77–78. While

incarcerated for Rhoda’s shooting, Mr. Gardner began a relationship with a married woman,

Westmoreland, and then became physically abusive and controlling. 22 RR 33–39. Mr. Gardner

threatened the lives of Westmoreland and her family. See 22 RR 37. Mr. Gardner emotionally and

sexually abused Westmoreland’s daughter, Becky. See 22 RR 67–70. The relationship with




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Westmoreland ostensibly ended when Mr. Gardner physically assaulted Becky. See 22 RR 43–49,

71–73; SX 69.

       Mr. Gardner’s fourth marriage ended in 1999, but in 2001, his ex-wife Sandra applied for

a temporary protective order and alleged family violence. SX 72. The protective order was granted

for a period of two years. SX 72. Sandra feared Mr. Gardner and was “frantic” when she brought

her son to Mr. Gardner’s home for visitation. 22 RR 128.

       Mr. Gardner murdered his fifth wife after years of abuse against her and her daughter. 22

RR 124–27. Further, Mr. Gardner was arrested at a mall masturbating in his vehicle while

women and children were in the area. 22 RR 93–95. He was discovered with illegal weapons in the

vehicle. 22 RR 103. Finally, Mr. Gardner was punished multiple times while in the Army, and a

psychiatrist noted that Mr. Gardner had an “inadequate, immature, [and] sociopathic personality.”

SX 74. This evidence outweighed Mr. Gardner’s State habeas evidence. The State court’s

decision that no prejudice was found on the record before the court was reasonable.

       4.       That the Court of Criminal Appeals rejected finding sixty-seven does not mean
                that the Court of Criminal Appeals found that the mitigation investigation was
                impaired.

       Mr. Gardner argues that the Court of Criminal Appeals found that the mitigation

investigation was impaired because it rejected a proposed finding by the State habeas trial court.

Pet. a t p . 94. The finding rejected by the Court of Criminal Appeals, finding sixty-seven,

reads, “Counsel believed that their mitigation expert, Shelli Schade, was ‘overly close’ with

[Gardner] and his family, but they did not believe that their investigation was impaired.” 2 SHCR

393 (Finding 67).

       In rejecting finding sixty-seven, Mr. Gardner tries to impute an implicit finding in the

court’s action. Mr. Gardner suggests that the Court of Criminal Appeals actually believed,




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but did not explicitly hold, that counsel’s investigation was impeded by the mitigation specialist

and, therefore, deficient. Pet. a t p . 94 (“The TCCA’s September 15, 2010 order implicitly

ruled that the mitigation investigation was impaired.”); see Ex parte Gardner, 2010 WL 3583072,

at *1.

         This argument is faulty. First, Mr. Gardner provides this court with no authority that

the rejection of a proposed finding by the Court of Criminal Appeals gives rise to an implicit,

contrary finding. Second, the absence of a finding on whether the mitigation specialist impaired

the mitigation investigation does not necessarily make the opposite true. Mr. Gardner’s argument

is a logical fallacy. See Alabama-Tombigbee Rivers Coal. v. Kempthorne, 477 F.3d 1250, 1257

(11th Cir. 2007) (describing the logical fallacy of “argumentum ad ignorantiam” as “the mistake

that is committed whenever it is argued that a proposition is true simply on the basis that it has

not been proved false….”). Third, the Court of Criminal Appeals could not have intended for its

rejection of finding sixty-seven to be the final word on whether there was an impaired mitigation

investigation because an earlier finding, finding sixty-four, states that “[c]ounsel thoroughly

investigated and prepared for [Mr. Gardner’s] trial.” 2 SHCR 393 (Finding 64). It is more likely

that the Court of Criminal Appeals rejected finding sixty-seven because counsel never expressed

a belief about whether the mitigation specialist’s relationship with Mr. Gardner and his family

affected the mitigation investigation. Finding sixty-seven improperly imputed such a belief to

counsel. This belief was not supported by the record. Ex parte Van Alstyne, 239 S.W.3d 815, 817

(Tex. Crim. App. 2007) (describing the legal standard utilized by the Court of Criminal Appeals

in its capacity as the “ultimate fact finder”).

         The Court of Criminal Appeals’ rejection of finding sixty-seven means nothing more than

the fact that the Court of Criminal Appeals rejected finding sixty-seven. Accordingly, Mr.




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Gardner’s argument that the Court of Criminal Appeals implicitly found that the mitigation

investigation was impaired, and the arguments based upon this premise are meritless.

       Mr. Gardner further argues that counsel were ineffective due to their mitigation

investigation. Mr. Gardner contends that experts Drs. Allen and Kessner informed counsel that the

investigation was inadequate. Pet. at pp. 95–96, 107–09. Mr. Gardner references counsel’s State

habeas affidavit to prove his point regarding Dr. Allen. Pet. at p. 95. Counsel, in the affidavit,

explained that Dr. Allen, after hearing the testimony of the State’s witnesses, did not testify “because

of [a] lack of information.” Pet. at p. 95; see also 2 SHCR 345.          Mr. Gardner points to Dr.

Kessner’s State habeas affidavit where she stated that she informed counsel “that there were

important corroborating witnesses who were not being located and interviewed for mitigation.”

Pet. at p. 96; see also 1 SHCR 209. This court rejects those arguments. First, the “lack of

information” statement is taken out of context. Dr. Allen determined that she should not testify

because after hearing the abuse perpetrated by Mr. Gardner on one of his step-daughters, she

determined that she lacked truthful information. This possibly put counsel on notice that Mr.

Gardner was not truthful, but it does not indicate that there was more information to be uncovered

regarding his past. Second, Dr. Kessner’s statement that “there were important corroborating

witnesses who were not being located” assumes that such witnesses exist. The only

“corroborative” witness identified was Lillis, who provided evidence of a single instance of

corporal punishment.

       Dr. Kessner’s statement regarding uncorroborated aspects of Mr. Gardner’s background

was too vague to serve as a notice to counsel that they had missed certain avenues of investigation.

Dr. Kessner’s references to corroborative witnesses suggests that counsel had uncovered the

important substantive evidence regarding Mr. Gardner’s background. These vague statements were




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hardly notice of additional, undiscovered background evidence. They do not undermine the

reasonableness of the state court’s decision.

        Third, Mr. Gardner argues that counsel’s ineffectiveness is proven through the juror

affidavits. Pet. at pp. 105–06, 124–26. This Court may not consider such affidavits as a matter of

federal habeas law. A n d e v e n i f i t d i d , a statement the hypothetical effect of a theory when

the juror has not been provided with the full scope of the evidence and the State’s likely rebuttal

evidence and argument does not have an impact o n t h i s c o u r t ’ s inquiry into constitutional

effectiveness.

        Mr. Gardner tries to expand review of the State court’s decision by attaching documents to

his petition that were never reviewed by the State habeas court. Pet. a t p p . 97–98; Pet.

Ex. 1 (mitigation specialist’s billing invoices); Pet. Ex. 2 (counsel’s billing invoices). This is

impermissible, as federal habeas review looks only to the record before the state court. Pinholster,

563 U.S. at 181, 131 S. Ct. at 1398. Section 2254(e)(2) also precludes federal habeas review of

such documents. See Holland v. Jackson, 542 U.S. 649, 653, 124 S. Ct. 2736, 2738 (2004)

(“Those same restrictions [in § 2254(e)(2)] apply a fortiori when a prisoner seeks relief based on

new evidence without an evidentiary hearing.”). These records could have been submitted to the

State habeas court. See Williams, 529 U.S. at 432–33, 120 S. Ct. at 1488. Accordingly, this court

cannot consider the billing invoices of the mitigation specialist or counsel.4



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         The records themselves do not support a deficient investigation. First, the records are
incomplete. The earliest billing invoice is from March 1, 2006, where the mitigation specialist bills
for eighteen hours of work; however, there is also a note stating “Total Hours to date: 169.75.”
Pet. Ex. 1 at p. 1. Mr. Gardner makes no attempt to account for approximately four typical work-
weeks of investigation, and pays no attention to the other entries regarding communication
with possible witnesses. See, e.g., Pet. Ex. 1 at p . 4 (“correspondence with family”). Second,
Mr. Gardner fails to provide this Court with any basis to conclude that a certain amount of hours
are necessary to render an investigation sufficient. The fact that little else turned up during the State
habeas proceeding is more probative on this point than a simple hourly cutoff. Third, the billing

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       Mr. Gardner also argues that the psychosocial history compiled by the mitigation specialist

was not detailed enough so any decision made by counsel regarding mitigation was not fully

informed and, therefore, ineffective. Pet. at pp. 106, 113. As Mr. Gardner’s State habeas

mitigation specialist admitted, a timeline was “prepared by someone” although “the dates were

vague and the time line did not document what records the information was obtained from.” 1

SHCR 125. Instead, “there were various handwritten notes from interviews with [Mr. Gardner],

typed interview notes, [Mr. Gardner’s] own writings, and e-mails with [Mr. Gardner’s] sister”

( 1 SHCR 124), plus the extensive cache of records compiled by counsel. Mr. Gardner argues

that unless a mitigation specialist compiles the information from the investigation in a particular

format, counsel is ineffective. This argument is meritless. The query of constitutional assistance

of counsel does not delve into such minutiae. See Strickland, 466 U.S. at 689, 104 S. Ct. at 2065.

Counsel had the raw information, and counsel compiled the information in a timeline format.

The information later provided by Lillis, Stone, and the Reeves would not have affected the

outcome of the proceeding.

       The arguments proffered by Mr. Gardner do not undermine the State court’s decision to

deny relief. Counsel investigated Mr. Gardner’s background competently, and Mr. Gardner did not

produce sufficient evidence in the State habeas court to prove prejudice. Accordingly, the

State court’s decision on this point is reasonable. This claim is denied.




invoices are general and obviously do not detail the entirety of the mitigation specialist’s work.
This is most likely purposeful. See Tex. Comm. on Prof'l Ethics, Op. 559, 68 TEX. B.J. 1034
(2005) (explaining that appointed counsel should provide billing invoices that are general unless
a client’s consent is obtained or a court order compels more). Ultimately, the billing invoices mean
little, either because they cannot be considered, or because they have little probative value.

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D.     The admission of Tammy’s 911 call did not violate the Confrontation Clause (Claim
       Five). Additionally, this claim was not fairly presented, is procedurally barred by an
       adequate and independent state law ground, and should be judicially estopped.

       Mr. Gardner claims that the introduction of evidence regarding the 911 call placed by

Mrs. Gardner on the eve of her death violated the Confrontation Clause. Pet. at pp. 129–30. Mr.

Gardner contends that the 911 call was not a dying declaration. Mr. Gardner argues that the phone

call does not meet the requirements of a dying declaration because Mrs. Gardner did not subjectively

know that her death was imminent and because portions of the call were testimonial in nature.

       1.      The admission of the 911 call did not violate the Confrontation Clause.

       At trial, Erin Whitfield, a 911 dispatcher, testified regarding a call she received at 11:58

p.m. on January 23, 2005. 19 RR 22–23. The woman on the line identified herself as “Tammy,”

and said she needed an ambulance because her husband “had either slapped or shot her.” 19 RR

24–25. As the conversation continued, Mrs. Gardner stated that the person who had shot her left

in a “white Ford pickup truck with Mississippi plates,” and that her husband’s name was Steven

Gardner. 19 RR 26–27. The call lasted about twenty minutes. 19 RR 28. As the call ended, the

dispatcher testified she heard Mrs. Gardner choking and vomiting. 19 RR 28. The State also

introduced an audio recording containing a small portion of the twenty-minute 911 call. SX 1; 19

RR 32–34.

       Mr. Gardner argues that the State court committed reversible error when it found the 911

call qualified as a dying declaration because: (1) it is a retrospective finding of fact; (2) “[n]o one

can read the mind of another, or intuit a subjective belief”; (3) no evidence at trial suggested that

Mrs. Gardner subjectively felt that her death was imminent; and (4) the evidence at trial contradicts

a belief that Mrs. Gardner thought she was about to die. Pet. at pp. 132–33. Mr. Gardner further

claims that the 911 call was testimonial because Mrs. Gardner’s statements were made “in response




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to questioning by the dispatcher [and] were not necessary to address an on-going emergency.”

Pet. at p. 134.

       Mr. Gardner cannot challenge the correctness of the State court’s finding that the 911 call

was a dying declaration in federal court. Matters of state law, including the admissibility of evidence

under a state’s evidence rules, are for a state’s courts to decide. Walker v. Harry, 462 F. App’x.

543, 545 (6th Cir. 2012) (in raising a Confrontation Clause claim, inmate could not challenge

state law ruling that a statement was a dying declaration). Mr. Gardner’s challenge to the Court

of Criminal Appeals is a complaint that they considered objective evidence to determine whether

Mrs. Gardner subjectively believed that she was about to die. See Pet. at pp. 131–33. As the Court

of Criminal Appeals noted, proof that a declarant believed that death was imminent is not limited

to the words of the declarant. Gardner, 306 S.W.3d at 289–91. Instead, it can include the

“declarant’s conduct and the nature of his wounds.” Id. at 290. Consideration of such evidence to

establish a belief of imminent death is proper and in accord with Supreme Court precedent.

       In Mattox v. United States, 146 U.S. 140, 151, 13 S. Ct. 50, 53–54 (1892), the Supreme

Court interpreted the then-common law federal dying declaration hearsay exception as allowing

proof of imminent death to come from what the declarant uttered, “the nature and extent of

the wounds inflicted,” and the conduct of the declarant. See United States v. Shields, 497 F.3d

789, 793 (8th Cir. 2007) (“A declarant’s serious injuries can support an inference that he believed

death was imminent.”). While the “findings” of the Court of Criminal Appeals may have been

“retrospective,” inferential and based on circumstantial evidence, this practice is permissible

under Supreme Court precedent.

       Accordingly, the Court of Criminal Appeals found that a substantial amount of evidence

suggested that Mrs. Gardner knew that her death was imminent:




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       (1)     The single bullet entered her right temple, went through her brain, and
               exited below her left ear. This was a mortal wound;

       (2)     Ms. Whitfield testified that [Mrs. Gardner’s] voice was very slurred and
               hard to understand;

       (3)     [Mrs. Gardner] kept repeating that her head hurt and that she could not hear
               very well ‘because her ears were ringing from the gunshots’;

       (4)     She said that her husband had shot her, there was blood everywhere, and
               she needed an ambulance;

       (5)     Before the phone disconnected, Ms. Whitfield heard what sounded like
               [Mrs. Gardner] choking and vomiting;

       (6)     When the first deputy arrived, he found [Mrs. Gardner] on the blood-soaked
               bed, trying to sit up; she appeared to be in shock and was bleeding badly
               from both the back and top right of head;

       (7)     There was a trail of blood leading into the bathroom, around the toilet, and
               in the trash can;

       (8)     When the paramedics finally arrived, Mrs. Gardner was ‘spitting up a lot of
               blood’ and mumbling incomprehensibly;

       (9)     She was in a vegetative state and died at the hospital two days later.

Gardner, 306 S.W.3d at 291–92.

       The decision by the Court of Criminal Appeals in finding that the 911 call was a

dying declaration was reasonable. See, e.g., Mattox, 146 U.S. at 152; 13 S. Ct. at 54 (a dying

declaration was properly admitted into evidence because the statement was elicited within “a few

hours” of the injury, “the wounds were three in number, and one of them of great severity,” and

the declarant was told, by a physician, that his chance of survival was slim). Because the 911 call

constituted a dying declaration, it did not violate the Confrontation Clause.

       Further, the Confrontation Clause was not violated in this case because the 911 call was

not testimonial. In Davis v. Washington, 547 U.S. 813, 817–18, 126 S. Ct. 2266, 2271 (2006), the

Supreme Court considered whether the 911 call made in that case was testimonial. The caller in


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Davis stated that she was involved in a domestic dispute, named her attacker, and then said her

attacker fled. Id. The court found that the 911 call was not testimonial because (1) the caller

described events that were presently occurring; (2) the call was a plea for help; (3) the questions

that the dispatcher asked were for the purpose of resolving an emergency; and (4) the setting was

“not tranquil or even . . . safe.” Id. at 827–28, 2276–77.

       The facts in Mr. Gardner’s case are similar. Mrs. Gardner called 911, provided her name

and address, and said “she needed an ambulance” because she had just been shot by her husband.

19 RR 24–25. Mrs. Gardner then provided a physical description of her residence, informed

Whitfield that her attacker had just fled “in a white Ford pickup truck with Mississippi plates”

when asked if the shooter was still at the premises, and stated that her husband’s name was

Steven Gardner. 19 RR 26–27.

       Mr. Gardner argues that Mrs. Gardner’s identification of him and her description of his

vehicle are testimonial because the emergency b e i n g r e p o r t e d w a s n o l o n g e r “ o n

g o i n g . ” Pet. a t p . 134. According to Davis, a dispatcher’s “effort to establish the identity

of the assailant” is not testimonial because it aids “the dispatched officers [in knowing] whether

they would be encountering a violent felon.” Davis, 547 U.S. at 827, 126 S. Ct. at 2276. In this

case, the dispatcher was doing the same thing. She needed to know the assailant’s name to

determine whether Mr. Gardner was “a violent felon,” and she needed the vehicle description

to determine whether Mr. Gardner was still at Mrs. Gardner’s residence to ensure the safety of

first responders.

       There is no reasonable, objective reading of the 911 call transcript that suggests that the

dispatcher was questioning Mrs. Gardner to determine past events for purposes of providing proof

at a future trial; instead, she was responding to a crisis. The 911 call was therefore not testimonial,




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and its admission did not violate Mr. Gardner’s constitutional right to confrontation was not

violated. Dying declarations are an exception to the introduction of out-of-court testimonial

statements. Further, the 911 call was not testimonial. Relief is not warranted.

       Assuming that a Confrontation Clause violation occurred, the error was harmless.

“Confrontation Clause violations are subject to harmless error analysis.” Fratta v. Quarterman,

536 F.3d 485, 507–08 (5th Cir. 2008). Harmless error inquiry of a Confrontation Clause violation

can include “whether the testimony was cumulative, the presence or absence of evidence

corroborating or contradicting the testimony of the witness on material points, the extent of cross-

examination otherwise permitted, and, of course, the overall strength of the prosecution’s case.”

Delaware v. Van Arsdall, 475 U.S. 673, 684, 106 S. Ct. 1431, 1438 (1986).

       Although Mr. Gardner argues that his name was testimonial, any error is harmless. Before

the dispatcher was aware that the emergency had subsided, Mrs. Gardner had already informed

the dispatcher “that her husband had . . . shot her.” 19 RR 25. Mr. Gardner’s marriage status—that

he was Mrs. Gardner’s husband at the time of the shooting—was proven with other admissible

evidence such as the divorce petition. SX 39. There can be no harm in Mrs. Gardner’s statement

that her husband’s name was “Steven Gardner” when the most inculpating aspect of the statement

was “that her husband had . . . shot her.” 19 RR 25. Mr. Gardner’s identity was cumulative of other

evidence establishing that he was Mrs. Gardner’s husband.

       Mr. Gardner also argues that the description of the vehicle was testimonial. See Pet. at p.

134. Any error h e r e was also harmless. When Deputy William Armstrong arrived at Mrs.

Gardner’s house, he observed a white pickup truck. 19 RR 42–43. Mr. Gardner’s brother-in-law,

David Holifield, testified that he had a white Ford F-150 pickup truck that Gardner borrowed on

the morning of Mrs. Gardner’s shooting (20 RR 20–22) and returned the next day (20 RR 32)




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37. When Mr. Gardner returned the vehicle, his sister asked him whether Mrs. Gardner was okay.

20 RR 38. Mr. Gardner responded “ yes,” implying that he had recently seen Mrs. Gardner and knew

her status. 20 RR 38. In addition, Mr. Gardner’s fingerprints were found inside the pickup truck (19

RR 124–25) along with fibers that were consistent in diameter, color, and chemical composition

with those from Mrs. Gardner’s housecoat (20 RR 86–91). Mr. Gardner’s credit card was also used

at a Marshall, Texas convenience store on the day of Mrs. Gardner’s shooting (19 RR 273; SX

44) and the cardboard backing of a pair of work gloves (SX 50) sold at the same convenience

store (19 RR 272) was found in the pickup truck as well (20 RR 56–57).

        The evidence of a white pickup truck bearing Mississippi license plates is corroborative

that Mr. Gardner shot Mrs. Gardner. Mrs. Gardner identified Mr. Gardner as the shooter shortly

before slipping into unconsciousness. There was also significant additional evidence that Mr.

Gardner had used a white pickup truck to travel from Mississippi to Collin County, Texas,

including his relatives’ testimony, credit card statements, and fiber analysis. Even if Mrs.

Gardner’s statement that Mr. Gardner had fled in a white pickup truck with Mississippi license

plates was inadmissible, it was harmless considering that the statement was simply corroborative

and relatively unimportant in the host of evidence against Mr. Gardner. This claim does not rise

to the level of reversible error.

        2.      Alternatively, Mr. Gardner’s Confrontation Clause claim is unexhausted and
                procedurally defaulted because further attempts to exhaust would be fruitless.

        An inmate must exhaust available state remedies or federal habeas relief must be withheld.

28 U.S.C. § 2254(b). To exhaust, inmates must first seek redress in state court. Heck v. Humphrey,

512 U.S. 477, 480, 114 S. Ct. 2364, 2369 (1994). This means that an inmate must provide a state

court “a fair” opportunity to review the claim, that is, the inmate must present the issue in a

procedural context, which insures that the state court will review the claim solely on the merits.


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Castille v. Peoples, 489 U.S. 346, 351, 109 S. Ct. 1056, 1060 (1989). Practically, exhaustion is met

“when the substance of the federal habeas claim has been fairly presented to the highest state court.”

Parr v. Quarterman, 472 F.3d 245, 252 (5th Cir. 2006) (citing Smith v. Dretke, 522 F.3d 269,

275 (5th Cir. 2001)). The Court of Criminal Appeals is the highest court in Texas for criminal

matters. Richardson v. Procunier, 762 F.2d 429, 431 (5th Cir. 1985). “Determining whether a

petitioner exhausted his claim in state court is a case- and fact-specific inquiry.” Moore v.

Quarterman, 533 F.3d 338, 341 (5th Cir. 2008) (en banc).

       On direct review, Mr. Gardner complained that the 911 call was inadmissible hearsay to

which no exception applied. Appellant’s Brief at pp. 42–43, Gardner v. State, 306 S.W.3d 274 (Tex.

Crim. App. 2009) (No. AP-75,582). Mr. Gardner also addressed a possible Confrontation Clause

violation but predicated the argument with a concession: “Appellant agrees, therefore, that if

the statement made to [the 911 operator] by the caller satisfied Texas’s requirements for a dying

declaration, neither the Confrontation Clause nor Crawford or Davis would bar its admission.”

Appellant’s Brief at p. 44, Gardner v. State, 306 S.W.3d 274 (Tex. Crim. App. 2009).

       The Court of Criminal Appeals, after finding that the 911 call met Texas’s dying

declaration hearsay exception, accepted Mr. Gardner’s concession and declined to address the

constitutional issue. Gardner, 306 S.W.3d at 288 n.20. As such, the Court of Criminal Appeals did

not reach the merits of Mr. Gardner’s Confrontation Clause claim. The Court of Criminal Appeals

was required to address state law—the admissibility of the 911 call under Texas evidence law—

because Mr. Gardner conceded the constitutional issue. Fair presentation requires more and

consequently, Mr. Gardner has failed to exhaust this claim.

       The Supreme Court has addressed several scenarios where an inmate’s litigation tactics do

not suffice to fairly present an issue. For example, merely placing the same facts before both the




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state and federal courts does not suffice to fairly present a claim. See Anderson v. Harless, 459 U.S.

4, 7–8, 103 S. Ct. 276, 278 (1982); Picard v. Connor, 404 U.S. 270, 277–78, 92 S. Ct. 509, 513

(1971). In Picard, an inmate complained about the validity of his indictment in state court but

did not challenge the indictment on equal protection grounds. Picard, 404 U.S. at 277, 92 S. Ct.

at 513. The state court, not surprisingly, did not address the Equal Protection Clause in finding

that the indictment was valid because it only “dealt with the arguments [the petitioner] offered.”

Id. The state court could therefore not be faulted “for failing also to consider sua sponte” the equal

protection claim, which was not fairly presented. Id. As another example, simply giving a state

court an opportunity to reach a claim’s merits does not fairly present a claim. Castille, 489 U.S. at

351, 109 S. Ct. at 1060. The inmate in Castille filed a petition with Pennsylvania’s highest court

seeking further review where he raised, for the first time ever, two claims that were later advanced

in his federal habeas petition. Id. at 347–48, 1058. Such review, however, was only afforded

by the Pennsylvania court if “there are special and important reasons therefor.” Id. at 351, 1060.

The Supreme Court found that the manner in which this inmate presented his claims did not

“constitute ‘fair presentation.’” Id.

        Under established Texas law, an appellate court is not required to address a conceded

issue. See Alameda v. State, 235 S.W.3d 218, 223 (Tex. Crim. App. 2007) (“Appellant concedes

that if the audiotape were admissible, his complaint regarding the admissibility of the transcript of

the recorded conversations would be moot. Therefore, because the audiotape was properly

admitted, the transcript was also admissible, and we do not need to address Appellant’s second

ground for review.”); In re Estate of Vackar, 345 S.W.3d 588, 592–93 (Tex. App.—San

Antonio 2011, pet. denied) (“Based on Betty’s concession that the trial court’s judgment is not

supported by the jury’s finding of undue influence, we need not address Maggie’s issues regarding




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undue influence.”).

       Texas’s rule is hardly unique. Brent v. Dominguez, 234 F. App’x 528, 529 (9th Cir. 2007)

(“We do not address the merits of the district court’s dismissal of Brent’s APA claims because, in

his reply brief, Brent conceded that the dismissal of those claims was proper.”); United States v.

Agofsky, 458 F.3d 369, 374, n.4 (5th Cir. 2006) (“Agofsky asserts additional claims solely to

preserve them for further review. Inasmuch as Agofsky concedes that these claims are foreclosed

by precedent binding on this Court, we do not address them.”).

       By conceding the Confrontation Clause claim conditioned on state law admissibility,

Mr. Gardner permitted the state court to avoid adjudicating the claim’s constitutional merits. Mr.

Gardner’s action of conceding the constitutional issue predicated on state law admissibility is a

hybrid of Picard and Castille. Mr. Gardner placed the same facts before the State court and this

court. According to Picard, this is insufficient. Mr. Gardner placed the same legal argument before

the State court and this Court. According to Castille, this is also insufficient. Mr. Gardner was

required to present his Confrontation Clause claim in a manner that required adjudication by the

Court of Criminal Appeals—opportunity is not enough. See O’Sullivan v. Boerckel, 526 U.S. 838,

844, 119 S. Ct. 1732 (1999) (“Section 2254(c) requires only that state prisoners give state courts a

fair opportunity to act on their claims.”)

       By conceding the constitutional issue, Mr. Gardner did not provide the Court of Criminal

Appeals a fair opportunity to act on the claim. Raising a claim on appeal but thereafter

shortly conceding the correctness of the lower court’s decision is akin to raising no issue at all.

Accordingly, this claim is unexhausted.

       If Mr. Gardner files another state application in an attempt to exhaust this claim, it would

be dismissed as abusive since he was required to include all available grounds for relief in




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his first application save certain, narrow exceptions that Mr. Gardner does not meet. Nobles v.

Johnson, 127 F.3d 4 09, 423 (5th Cir. 1997). It is well-settled that abuse of the writ constitutes

an adequate and independent state law ground that bars federal habeas review. Id.; Fearance v.

Scott, 56 F.3d 633, 642 (5th Cir. 1995). It is also well-settled that the Court of Criminal Appeals

applies its abuse-of-the-writ rules regularly and strictly. See Fearance, 56 F.3d at 642. Where

an inmate’s failure to exhaust precludes further state review, such unexhausted claims are

procedurally defaulted in federal court. Coleman v. Thompson, 501 U.S. 722, 735 n.1, 111 S. Ct.

2546, 2557 (1991). Consequently, Mr. Gardner’s Confrontation Clause claim is procedurally

defaulted.

       3.      Mr. Gardner’s Confrontation Clause claim is barred from federal review by an
               adequate and independent State law ground.

       A federal habeas court will not review a claim rejected by a state court “if the decision of

[the state] court rests on a state law ground that is independent of the federal question and

adequate to support the judgment.’” Beard v. Kindler, 558 U.S. 53, 55, 130 S. Ct. 612, 614

(2009). Foreclosure of federal review “applies whether the state law ground is substantive or

procedural.” Coleman, 501 U.S. at 729, 111 S. Ct. at 2553–54 When an inmate fails to properly

raise a claim in state court he “has deprived the state courts of an opportunity to address those

claims in the first instance.” Id. at 732, 2555.

       Accordingly, preventing review of claims decided on state law procedural grounds

“ensures that the States’ interest in correcting their own mistakes is respected in all federal habeas

cases.” Id. A state-law procedural bar is adequate to preclude federal consideration of a claim if

it is “‘firmly established and regularly followed.’” Lee v. Kemna, 534 U.S. 362, 376, 122 S. Ct.

877, 885 (2002). The discretionary nature of such a bar does not make it any less “adequate” for

a “discretionary rule can be ‘firmly established’ and ‘regularly followed’ even if the appropriate


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exercise of discretion may permit consideration of a federal claim in some cases but not others.”

Beard, 558 U.S. at 60-61, 130 S. Ct. at 618. Those situations where a state law ground is found

inadequate are but a “small category of cases.” Kemna, 534 U.S. at 381, 122 S. Ct. at 888.

Decisions by State courts “are independent of federal law [when] they do not depend upon a

federal constitutional ruling on the merits.” Stewart v. Smith, 536 U.S. 856, 860, 122 S. Ct. 2578,

2581 (2002). In the context of federal habeas, there is no presumption of federal law consideration

unless it is first determined that the state court decision “fairly appears to rest primarily on

federal law, or to be interwoven with the federal law.” Coleman, 501 U.S. at 735, 111 S. Ct. at

2557 (internal citations and quotations omitted). Where there is no “clear indication that a state

court rested its decision on federal law, a federal court’s task will not be difficult.” Id. at 739–40,

2559.

        When a claim has been procedurally defaulted in state court, federal review is only allowed

when a petitioner has shown cause and prejudice, or shown that a fundamental miscarriage of

justice will occur but for review of the claim. Id. at 749–50, 111 S. Ct. at 2564. A petitioner can

invoke the miscarriage-of-justice exception only if he can show that he is actually, as opposed to

legally, innocent of the crime or of the death penalty. Sawyer v. Whitley, 505 U.S. 333, 339–40,

112 S. Ct. 2514, 2519 (1992). Actual innocence of the death penalty looks to eligibility for a

sentence of death, not the jury’s discretion in imposing such punishment. Id. at 346–47, 2522–

2523.

        Mr. Gardner’s confrontation claim was adjudicated on an adequate and independent state

law ground—the Court of Criminal Appeals accepted the concession of a party. Gardner, 306

S.W.3d at 288 n.20. The acceptance of a party’s concession does not implicate federal law, so

such action is independent of it. Texas courts have long accepted concessions. See Trigeant




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Holdings, Ltd. v. Jones, 183 S.W.3d 717, 721 n.1 (Tex. App.—Houston [1st Dist.] 2005, pet.

denied). Texas courts often deny claims based on a concession, so it is a practice that is regularly

followed. E.g., Alameda, 235 S.W.3d at 223; In re Estate of Vackar, 345 S.W.3d at 592–93. As

such, the denial of a claim based on a concession is an adequate and independent state-law ground

precluding federal review. Mr. Gardner has not shown cause and prejudice or a miscarriage of

justice despite his burden to do so. Therefore, the Confrontation Clause claim is procedurally

defaulted as a result.

       4.      Alternatively, Mr. Gardner is judicially estopped from taking a position contrary
               to the one he took on direct appeal.

       Mr. Gardner conceded that the Confrontation Clause issue is contingent on a finding that the

911 call was a dying declaration. Appellant’s Brief at p. 44, Gardner v. State, 306 S.W.3d 274

(Tex. Crim. App. 2009) (No. AP-75,582). The Court of Criminal Appeals accepted the concession

after it found that the 911 call met Texas’s dying declaration exception and did not decide the

constitutional issue. Gardner, 306 S.W.3d at 289 n.20. Mr. Gardner’s new argument is judicially

estopped.

       Where a party assumes a certain position in a legal proceeding, and succeeds
       in maintaining that position, he may not thereafter, simply because his interests
       have changed, assume a contrary position, especially if it be to the prejudice of
       the party who has acquiesced in the position formerly taken by him. This rule,
       known as judicial estoppel, generally prevents a party from prevailing in one phase
       of a case on an argument and then relying on a contradictory argument to prevail
       in another phase.

New Hampshire v. Maine, 532 U.S. 742, 749, 121 S. Ct. 1808, 1814 (2001). This doctrine protects

“the integrity of the judicial process by prohibiting parties from deliberately changing positions

according to the exigencies of the moment.” Id. at 749–50, 1814 (internal citations omitted).

       Several principles guide application of judicial estoppel: (1) “a party’s later position must

be clearly inconsistent with its earlier position,” (2) “whether the party has succeeded in


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persuading a court to accept that party’s earlier position,” and (3) “whether the party seeking to

assert an inconsistent position would derive an unfair advantage or impose an unfair detriment on

the opposing party if not estopped.” Id. at 750–51, 1815.

       These requirements are met in this case. Mr. Gardner is taking inconsistent positions—he

admitted the constitutionality of the 911 call on direct appeal. See Appellant’s Brief at p. 44,

Gardner v. State, 306 S.W.3d 274 (Tex. Crim. App. 2009). Mr. Gardner now argues that it is

unconstitutional. Pet. at pp. 129–35. Second, he persuaded the Court of Criminal Appeals to accept

his concession, so the court did not decide the claim’s merits. Gardner, 306 S.W.3d at 289 n.20.

Third, Gardner is seeking an unfair advantage—he could have determined the constitutionality of

his claim on direct appeal and could have allowed the state courts to correct the error, if any. See

Coleman, 501 U.S. at 732, 111 S. Ct. 2555 (exhaustion requirement exists to provide state

courts with the first opportunity to correct error). Instead, he seeks to unravel his conviction

several steps down the line, and after declining to use an appropriate forum to litigate his claim.

See Barefoot v. Estelle, 463 U.S. 880, 887, 103 S. Ct. 3383, 3391-3392 (1983) (“Direct appeal is

the primary avenue for review of a conviction or sentence, and death penalty cases are no

exception.”), overruled on other grounds by Lindh v. Murphy, 521 U.S. 320, 117 S. Ct. 2059

(1997). Mr. Gardner has not alleged that appellate counsel was ineffective by conceding the issue

on direct appeal. Accordingly, Gardner has forfeited the right to raise his current claim.

E.     Mr. Gardner’s Supplemental IATC claim is meritless (Claim Six).

       During the pendency of this case, opinions in Martinez v. Ryan, 566 U.S. 1, 132 S. Ct. 1309,

182 L. Ed. 2d 272 (2012), and Trevino v. Thaler, 569 U.S. 413, 133 S. Ct. 1911, 185 L. Ed. 2d

1044 (2013) were issued by the Supreme Court. This court appointed independent counsel to




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       brief any supplemental claims to determine whether Mr. Gardner had any claims

procedurally defaulted such that analysis under Martinez and Trevino is proper.

       In supplemental briefing provided by independent counsel, Mr. Gardner alleges that

State habeas counsel should have raised the following claim in State court—trial counsel were

ineffective for failing “to get the work product of their recalcitrant mitigation specialist, Shelli

Schade.” Suppl. Pet. a t p . 1. Mr. Gardner argues that the mitigation specialist “refused to

share notes from her mitigation investigation and refused to summarize her findings in a report

to the attorneys” because “[s]he was overly concerned with what could be discoverable by the

State.” Id. at p. 4. Mr. Gardner argues that trial counsel were deficient because they did not demand

that Schade turn over her notes, which belonged to Mr. Gardner as a matter of agency law. Id. at

pp. 5–9.

       1.      Mr. Gardner’s claim was presented and adjudicated in State Court, making
               Martinez/Trevino inapplicable.

       Martinez/Trevino provides no relief for Mr. Gardner because the legal and factual bases of

the supplemental IATC claim were before the State court, and the claim was adjudicated on the

merits. To exhaust remedies, a petitioner “must ‘fairly present’ his claim in each appropriate state

court . . . thereby alerting that court to the federal nature of the claim.” Baldwin v. Reese, 541 U.S.

27, 29, 124 S. Ct. 1347, 1349 (2004); see also Duncan v. Henry, 513 U.S. 364, 365–66, 115 S.

Ct. 887, 888 (1995) (per curiam). State habeas counsel, in State habeas claims three and four,

identified the correct federal precedent—Strickland v. Washington. 1 SHCR 43–44, 62–63.

Accordingly, the legal framework of the supplemental IATC claim was before the state court. See

Baldwin, 541 U.S. at 32, 124 S. Ct. at 1351 (“A litigant wishing to raise a federal issue can easily

indicate the federal law basis for his claim . . . by citing in conjunction with the claim the federal

source of law on which he relies or a case deciding such a claim on federal grounds . . . .”).


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       The facts supporting the supplemental IATC claim were also before the State court,

including (1) trial counsel must conduct, or cause to be conducted, a thorough mitigation

investigation ( 1 SHCR 44–45, 63–64); (2) the defense team members are required “to provide

counsel with documentary evidence of the investigation” ( 1 SHCR 45, 64); (3) despite the

document-provision obligation on       defense team members, trial counsel “bears ultimate

responsibility for the performance of the defense team” (1 SHCR 45, 64); (4) trial counsel

performed deficiently because Schade conducted an inadequate mitigation investigation,

including the failure to contact corroborating witnesses and to compile and document “a complete

psycho-social history” (1 SHCR 46–49); (5) because of these inadequacies, “when experts were

retained, the trial attorneys failed to provide the experts with a documented social history” ( 1

SHCR 49); (6) specifically, Dr. Kessner stated that she was concerned about insufficient

corroboration of information and that “Schade did not provide with notes from any interviews she

conducted,” which limited her “ability to present mitigation information” about Gardner ( 1

SHCR 50–51); (7) after State habeas counsel’s mitigation specialist Toni Knox conducted an

adequate mitigation investigation “friends and a church member . . . provided corroborating

information to some of [Mr. Gardner’s] history” ( 1 SHCR 51); and (8) with this “crucial”

corroborating information, Dr. Kessner could have developed “a unified theme of abandonment

rage and trauma” that would have “supported a verdict other than death” ( 1 SHCR 52–61,

67–72).

       The factual allegations in State court mirror those in the supplemental IATC claim.

Compare Suppl. Pet. at pp. 4–12, with 1 SHCR 44–72. Mr. Gardner essentially concedes that his

supplemental IATC claim was before the State court. Suppl. Pet. at p. 2 (“Much of the information

presented in the preceding paragraph was presented in Claims 3 . . . and 4” in State court); Supp.




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Pet. at p. 12 (“To be sure, there is substantial overlap between Gardner’s Martinez/Trevino claim

and the nucleus of IATC claims presented both in state habeas and in the opening writ.”).

       Mr. Gardner’s numerous citations to the State court record in support of the supplemental

IATC claim prove that it was presented in State court. See, e.g., id. at p. 4 (citing the trial

attorneys’ affidavit before the State habeas court and citing Dr. Kessner’s State habeas affidavit).

Thus, the record indicates that both the law and the facts of the supplemental IATC claim were

raised in Mr. Gardner’s State habeas application.

       Since the legal and factual bases were presented to the state court, this court must inquire

as to whether the supplemental IATC claim was adjudicated on the merits. There is a legal

presumption that the query was adjudicated. See Johnson v. Williams, 568 U.S. 289, 301, 133 S.

Ct. 1088, 1096 (2013) (“When a state court rejects a federal claim without expressly addressing that

claim, a federal habeas court must presume that the federal claim was adjudicated on the merits.”);

Harrington v. Richter, 562 U.S. 86, 99, 131 S. Ct. 770, 784-785 (2011).

       Mr. Gardner points to State court findings addressing the supplemental IATC claim. See

Suppl. Pet. at pp. 11–12 (citing Findings 32, 64, and 67 of the State habeas trial court’s findings,

although the State Court did not adopt Finding 67). The relevant findings are: (1) that the trial

attorneys hired Schade (Finding 64), (2) that despite some uncooperativeness on Schade’s part,

the trial attorneys did not feel it impeded the overall mitigation investigation (Finding 67), and (3)

that there was no prejudice from Dr. Kessner’s revised opinion after a full investigation had

been completed by the State habeas mitigation specialist (Finding 32). Id. The fact that there are

State court findings on which Mr. Gardner relies indicates that state court adjudication of this

claim occurred.




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       Accordingly, as a matter of presumption and of fact, the supplemental IATC claim was

adjudicated on the merits in State court. Consequently, because there is State court adjudication

of the supplemental IATC claim, Martinez/Trevino does not apply to this case. See Escamilla v.

Stephens, 749 F.3d 380, 394 (5th Cir. 2014) (“We conclude that Martinez does not apply to claims

that were fully adjudicated on the merits by the state habeas court because those claims are, by

definition, not procedurally defaulted.”).

       2.      Alternatively, assuming no State court presentment, Mr. Gardner fails to prove a
               substantial IATC claim or the ineffectiveness of State habeas counsel.

       To succeed in establishing cause to excuse the procedural default of his ineffective

assistance of trial counsel claims, [Mr. Gardner] must show that:

       (1) his underlying claims of ineffective assistance of trial counsel are “substantial,”
       meaning that he “must demonstrate that the claims have some merit,” and (2) his
       initial state habeas counsel was ineffective in failing to present those claims in his
       first state habeas application.
Chanthakoummane v. Stephens, 816 F.3d 62, 72 (5th Cir. 2016) (citing Preyor v. Stephens, 537

F. App’x 412, 412 (5th Cir. 2013), cert. denied, 134 S. Ct. 2821 (2014). “The petitioner’s failure

to establish the deficiency of either attorney precludes a finding of cause and prejudice.”

Chanthakoummane, 816 F.3d at 72 (quoting Sells v. Stephens, 536 F. App’x 483, 492 (5th Cir.

2013, cert. denied 134 S. Ct. 1786 (2014)).

               a.      The supplemental IATC claim does not meet the standard of Strickland.

       Under Strickland, to prove ineffectiveness, an inmate must establish both that the

attorney’s actions were deficient and that such deficiency prejudiced the defense. Strickland,

466 U.S. at 687, 2064. A failure to prove either results in denial of the claim. Id. at 687, 2064. To

establish deficient performance, an inmate must show that “counsel’s representation fell below

an objective standard of reasonableness.” Id. at 688, 2064.

       “[A] court must indulge a strong presumption that counsel’s conduct falls within the wide


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range of reasonable professional assistance; that is, the [petitioner] must overcome the resumption

that, under the circumstances, the challenged action might be considered sound trial strategy.” Id.

at 689, 2065 (internal citations and quotations omitted). Concerning prejudice, an inmate must

demonstrate “a reasonable probability that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different. A reasonable probability is a probability sufficient to

undermine confidence in the outcome.” Id. at 694, 2068.

       “Surmounting Strickland’s high bar is never an easy task.” Padilla v. Kentucky, 559 U.S.

356, 371, 130 S. Ct. 1473, 1485 (2010). “Even under de novo review, the standard for judging

counsel’s representation is a most deferential one.” Richter, 562 U.S. at 105, 131 S. Ct. at 788.

               b.      State habeas counsel’s failure to present the supplemental IATC claim was
                       not ineffective.

       Assuming that the supplemental IATC claim was not presented in state court, counsel’s

failure to raise such a claim is not ineffective, and thus, Mr. Gardner cannot avail himself of

Martinez/Trevino. First, because there was no merit to the supplemental claim, “habeas counsel

was not ineffective in failing to raise the claim at the first state proceeding.” Garza v. Stephens,

738 F.3d 669, 676 (5th Cir. 2013); see Sexton v. Cozner, 679 F.3d 1150, 1157 (9th Cir. 2012)

(“[A state-habeas] counsel would not be ineffective for failure to raise an ineffective assistance

of counsel claim with respect to trial counsel who was not constitutionally ineffective.”). Mr.

Gardner fails to prove either deficient performance or prejudice as to trial counsel, so state habeas

counsel was not ineffective by not submitting this IATC claim in State court.

       Second, counsel, including collateral-review counsel, have enormous discretion in their

claim- presentation choices. Counsel may disregard “weaker arguments [and focus] on one central

issue if possible, or at most on a few key issues.” Jones v. Barnes, 463 U.S. 745, 751–52, 103 S.

Ct. 3308, 3313 (1983). Counsel “is not required to have a tactical reason—above and beyond


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a reasonable appraisal of a claim’s dismal prospects for success—for recommending that a weak

claim be dropped altogether.” Knowles v. Mirzayance, 556 U.S. 111, 127, 129 S. Ct. 1411, 1422

(2009).

          In Mr. Gardner’s case, there are several reasons why State habeas counsel could have

made a reasonable decision to omit the supplemental IATC claim from Mr. Gardner’s State habeas

application. State habeas counsel could have recognized the oral-versus-written distinction

mentioned above—that the mitigation specialist, Schade, provided the defense team with the

substance of her mitigation investigation, albeit orally. Unless something was actually withheld by

Schade, which Mr. Gardner did not demonstrate, State habeas counsel could have recognized that

relief on this minor point was unlikely and therefore not have raised it.

          State habeas counsel could have also reasonably believed that the failure-to-investigate

(claim three) and failure-to-present (claim four) IATC claims fully encapsulated the

supplemental IATC claim. In other words, because the asserted prejudice for these two claims

fully subsumed any prejudice potentially flowing from mitigation evidence allegedly withheld

by Schade, there was no point in separately raising the supplemental IATC claim.

          A reviewing court must affirmatively entertain the range of possible reasons that counsel may

have had for proceeding as they did. Pinholster, 563 U.S. at 195, 131 S. Ct. at 1406. Because

a reasonable attorney could have omitted the supplemental IATC claim from Mr. Gardner’s State

habeas application, Mr. Gardner fails to prove that State habeas counsel’s actions were deficient.

Further, Mr. Gardner fails to prove that the omission of the supplemental IATC claim from his

State habeas application was prejudicial. He fails to prove that it is reasonably probable the

State court decision would have been different had he raised the supplemental IATC claim. The

allegation that Schade was less than cooperative was actually before the State habeas court, but




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the court still denied relief. Simply repackaging these allegations into a separate claim does not

make it more likely that relief would have been granted. Mr. Gardner fails to prove that anything

was actually withheld by Schade; therefore, it cannot be said that the State court’s decision would

have differed had the supplemental IATC claim been before it. Mr. Gardner has failed to prove

that State habeas counsel was deficient or that such deficiencies resulted in prejudice and he

therefore cannot utilize Martinez/Trevino to reach the merits of his supplemental IATC claim.

       Having addressed the ineffective assistance of trial counsel claim, and having found it

without merit, the court concludes that none of the claims is “substantial” for the purposes of

Martinez. Mr. Gardner has not demonstrated ineffective assistance of State habeas counsel. Mr.

Gardner is not entitled to relief under Martinez or Trevino. In conclusion, Mr. Gardner has not

shown that he is entitled to federal habeas corpus relief.

       The petition for a writ of habeas corpus is denied.

                            VI.    CERTIFICATE OF APPEALABILITY

       An appeal may not be taken to the court of appeals from a final order in a habeas

corpus proceeding “[u]nless a circuit justice or judge issues a certificate of appealability.”

28 U.S.C. § 2253(c)(1)(A). Although Mr. Gardner has not yet filed a notice of appeal, the Court

may sua sponte address whether he would be entitled to a certificate of appealability. See Alexander

v. Johnson, 211 F.3d 895, 898 (5th Cir. 2000)(“[T]he district court that denies a petitioner relief

is in the best position to determine whether the petitioner has made a substantial showing of a

denial of a constitutional right on the issues before the court. Further briefing and argument on

the very issues the court has just ruled on would be repetitious.”).

       A certificate of appealability may issue only if a petitioner “has made a substantial showing

of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). The Supreme Court fully explained




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the requirement associated with a “substantial showing of the denial of a constitutional right” in

Slack v. McDaniel, 529 U.S. 473, 484, 120 S. Ct. 1595, 1603 (2000). In cases where a district

court rejected a petitioner’s constitutional claims on the merits, “[t]he petitioner must

demonstrate that reasonable jurists would find the district court’s assessment of the constitutional

claims debatable or wrong.” Id. at 484, 120 S. Ct. at 1604. “When the district court denies a habeas

petition on procedural grounds without reaching the petitioner’s underlying constitutional claim,

a COA should issue when the petitioner shows, at least, that jurists of reason would find it

debatable whether the petition states a valid claim of the denial of a constitutional right and that

jurists of reason would find it debatable whether the district court was correct in its procedural

ruling.” Id.

       In this case, reasonable jurists could not debate the denial of Mr. Gardner’s § 2254 petition

on substantive or procedural grounds, nor could they find that the issues presented are adequate

to deserve encouragement to proceed. Miller-El v. Cockrell, 537 U.S. 322, 327, 123 S. Ct. 1029,

1034 (2003); see also Slack, 529 U.S. at 484, 120 S. Ct. at 1603. Accordingly, the Court finds

that Mr. Gardner is not entitled to a certificate of appealability as to his claims.

                                      VII.    CONCLUSION

       It is therefore ORDERED that the petition for a writ of habeas corpus is DENIED

and the case is DISMISSED WITH PREJUDICE. It is further

       ORDERED that a certificate of appealability is DENIED. It is finally

       ORDERED that all motions not previously ruled on are DENIED.
               So ORDERED and SIGNED this 1 day of March, 2018.




                                                              ___________________________________
                                                              Ron Clark, United States District Judge


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